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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
         COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
  1      LICENSING                                     1

  2     CITY COUNCIL
        CITY OF NEW YORK
  3
        ------------------------ X
  4     d
        TRANSCRIPT OF THE MINUTES
  5
                     Of the
  6
        COMMITTEE ON HOUSING AND BUILDINGS
  7     JOINTLY WITH THE COMMITTEE ON
        CONSUMER AFFAIRS AND BUSINESS
  8     LICENSING

  9     ------------------------ X

 10                           April 28, 2020
                              Start:   1:15 p.m.
 11                           Recess: 4:00 p.m.

 12
        HELD AT:              Remote Hearing
 13
        B E F O R E:          Robert E. Cornegy, Jr.,
 14                           Chairperson of the Committee on
                              Housing and Buildings
 15
                              Andrew Cohen,
 16                           Chairperson of the Committee on
                              Consumer Affairs and Business
 17                           Licensing

 18
        COUNCIL MEMBERS:
 19                           Speaker Corey Johnson
                              Margaret Chin
 20                           Karen Koslowitz
 21                           Brad Lander
                              Justin Brannan
 22                           Kalman Yeger
                              Ritchie Torres
 23                           Farah N. Louis
                              Fernando Cabrera
 24
                              Carlina Rivera
 25
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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
  1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                       2
  2     COUNCIL MEMBERS (CONT.):

  3                          Barry Grodenchik
                             Mark Gjonaj
  4                          Keith Powers
                             Helen Rosenthal
  5

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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
  1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                       3
  2                  A P P E A R A N C E S

  3        Michael McKee
  4        Treasurer of the Tenants Political Action
           Committee
  5
           Barika Williams
  6        Executive Director at Association for
           Neighborhood and Housing Development
  7

  8        Caryn Schreiber
           Legal Aid Society
  9
           Andy Morrison
 10
           Campaigns Director at New Economy Project
 11
           Oksana Mironova
 12        Housing Policy Analyst

 13
           Dana Sussman
 14        Commission on Human Rights

 15        Sheriff Joseph Fucito
           Department of Finance
 16

 17        AnnMarie Santiago
           Department Housing Preservation and Development
 18
           Ava Farkas
 19        Met Council
 20
           Julia Duranti-Martinez
 21        Campaign Coordinator at New Economy Project

 22        Joseph Condon
           Community Housing Improvement Program, CHIP
 23

 24        David Chemtob
           Renaissance Realty
 25
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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
  1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                       4
  2                  A P P E A R A N C E S (CONT.)

  3        Kenneth Litwack
           Marshals Association of the City of New York
  4

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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
  1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                       5
  2        UNIDENTIFIED: Okay, Dane, we can begin.

  3        CHAIRPERSON CORNEGY: Are you ready for me to

  4        gavel in?

  5        UNIDENTIFIED:     Dane, we cannot hear you.

  6        CHAIRPERSON CORNEGY:      Ralph, start it.

  7        UNIDENTIFIED:     Good afternoon ladies and

  8    gentleman and welcome to today’s New York City

  9    hearing.    At this time, we ask that everyone to

 10    silence all electronic devices.        We need everyone to

 11    turn their cameras at the beginning of the hearing on

 12    for proper identification.       Please mute your

 13    microphones on Zoom.      Microphones will be unmuted for

 14    you when it is your turn to speak.        Silence all

 15    electronic devices, so as to eliminate any

 16    disturbances during your testimony.         Any members of

 17    the public wishing to testify can email their

 18    statements to testimony@council.nyc.gov.         Again, you

 19    can email your testimony to

 20    testimony@council.nyc.gov.       We are ready to begin

 21    today’s hearing.

 22        CHAIRPERSON CORNEGY: [Gavel]        Welcome to today’s

 23    hearing held by Committee on Housing and Buildings

 24    chaired by myself and the Committee on Consumer

 25    Affairs and Business Licensing chaired by Council
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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
  1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                       6
  2    Member Andrew Cohen. We are also joined today by

  3    Speaker Corey Johnson who would like to share some

  4    opening remarks.

  5        SPEAKER JOHNSON:      Thank you Chairs Cornegy and

  6    Cohen for holding this hearing today.         Nice to see

  7    everyone, I hope everyone is safe and healthy and I

  8    want to just remember all of the hero’s out there.

  9    Our healthcare workers and all of the city workers

 10    that we have lost, so many of them during this hard

 11    time.

 12        This crisis has us fighting on two fronts;

 13    against the virus and against an unprecedented

 14    economic crisis.     We can’t forget that the suffering

 15    and anxiety in New York City right now isn’t just

 16    about health.     It’s also about peoples economic

 17    circumstances.

 18        When you are being hounded by creditors because

 19    you are behind on bills.       When your landlord maybe

 20    harassing you for your rent or you’re worried about

 21    whether you can afford to feed your family, that fear

 22    can become overwhelming.       New York City was in a

 23    housing emergency even before this epidemic.          Almost

 24    a third of New Yorkers were late on their rent.              20

 25    percent had the utilities shut off and 19 percent
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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
  1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                       7
  2    were doubled up in apartments, 15 percent were facing

  3    eviction.    Almost half of New Yorkers are at or near

  4    the poverty line and now, over half a million workers

  5    are probably out of a job.

  6         The ripple effects here are devastating.

  7    Unemployment benefits will help but it’s not that

  8    simple.     Not everyone is eligible and payments have

  9    been very slow to arrive.       If you were struggling

 10    before and had to pay your bills with credit cards

 11    over money, back payments aren’t going to make you

 12    whole.    That means that many tenants won’t be able to

 13    pay rent.    But keeping renters in their homes has to

 14    be our number one priority.       Not just during this

 15    crisis but after the emergency orders are lifted.            We

 16    have to give New Yorkers impacted by this crisis a

 17    fighting chance to get back on their feet.

 18        So, today we are hearing two bills that will help

 19    give New Yorkers some piece of mind to let them know

 20    that the City Council is going to do everything we

 21    can to make sure New Yorkers aren’t going to suffer

 22    harms that we can’t fix later.        We can’t compound the

 23    tragedies we’re already seeing by letting New Yorkers

 24    become homeless or have creditors go after them

 25    because of no fault of their own.
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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
  1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                       8
  2        Introduction 1936 which I’m co-sponsoring with

  3    Council Member Torres, would protect tenants impacted

  4    by COVID-19 from landlords who may retaliate against

  5    them.   And Intro. 1912, which I’ve sponsored would

  6    protect the hundreds of thousands of vulnerable New

  7    Yorkers and struggling business owners.

  8         While many mortgage holders have been offered

  9    more concrete relief, renters and business owners are

 10    left to worry of what will happen when temporary

 11    eviction moratoriums are lifted.        And those with

 12    debts like medical bills or credit cards are left to

 13    hope that their lenders will do the right thing.

 14         We’re going to need rent cancelation and

 15    reductions but while we work to make that happen, we

 16    need to put a backstop in place.

 17         Introduction 1912 will prevent Marshals and City

 18    Sheriffs from taking property or executing money

 19    judgements.    This means that evictions and debt

 20    collection would be paused.       It also means tenants

 21    would have time to repay their rent.         This would

 22    apply to actions against all New Yorkers through

 23    September or longer if the state of emergency

 24    continues into the fall.

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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                       9
   2       If you were impacted by COVID-19, Marshals and

   3    Sherriff’s will be banned from collecting debts and

   4    performing evictions until April of 2021.         We have a

   5    lot more work here but I believe these bills will put

   6    us on the right track.

   7        I want to thank all the advocates, the

   8    stakeholders and the members of the Administration

   9    who are here today.     I look forward to hearing from

  10    you all and I now turn it back over to Chair Cornegy.

  11    Chair Cornegy?    Did we lose the Chair?       I’ll turn it

  12    over to Chair Cohen.

  13        CO-CHAIR COHEN:     Alright, are we still looking

  14    for Rob?

  15        SPEAKER JOHNSON:     I don’t see him on here, so

  16    you may want to go in.

  17        CO-CHAIR COHEN:     Alright, now, I’m gone.

  18        SPEAKER JOHNSON:     No, you are here.

  19        CO-CHAIR COHEN:     I don’t know why my screen is

  20    going.

  21        SPEAKER JOHNSON:     You’re on.

  22        CO-CHAIR COHEN:     I appreciate that, except that

  23    my screen unfortunately for some reason has gone

  24    black and it’s going to be hard to read my opening.

  25        SPEAKER JOHNSON:     Okay.
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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                       10
   2       CO-CHAIR COHEN: I don’t know what’s going on.

   3          SPEAKER JOHNSON:    Take your time.    Thank you to

   4    everyone for your patience.       We are doing this

   5    remotely, it isn’t easy, so I appreciate everyone

   6    bearing with us.

   7          If the Sergeants or Carl if you are there if you

   8    could reach out to Chair Cornegy.

   9          UNIDENTIFIED:   In the process of doing that now.

  10          SPEAKER JOHNSON:    Thank you.

  11          CO-CHAIR COHEN:    I am happy to give my opening,

  12    so.

  13          SPEAKER JOHNSON:   Okay, go ahead.

  14          CO-CHAIR COHEN:    I don’t want to freelance but

  15    I’m going to start by wising my Speaker a happy

  16    birthday today.

  17          SPEAKER JOHNSON:   Thank you.

  18          CO-CHAIR COHEN:    And then I’m going to say good

  19    afternoon to everybody.      I am Andrew Cohen and I am

  20    the Chair of the Committee on Consumer Affairs and

  21    Business Licensing.

  22          I want to thank everyone who has managed to join

  23    us for this remote hearing.       I want to thank Council

  24    Member Cornegy, although he can’t hear me right at

  25    this second.    He is the driving force behind this
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                       11
   2    hearing. As it will be mentioned at today’s hearing,

   3    we’re seeking feedback on two pieces of legislation.

   4    I am looking forward to hearing from a broad spectrum

   5    of stakeholders including tenants, property owners,

   6    the Marshals, Sheriff’s, the advocates, and the

   7    public, so that the Council can get a better

   8    perspective on both sides of the issue.

   9        With these bills, the Council hopes to mitigate

  10    tenant harassment during the COVID-19 crisis and help

  11    keep as many folks as possible in their homes and

  12    business properties.

  13        In addition, the Council recognizes many

  14    landlords are facing financial pressures and need to

  15    weigh in on these issues during these challenging

  16    times.   Intro. 1912 which has been introduced by the

  17    Speaker, would limit the actions of City Sheriff’s

  18    and Marshals would limit the action City Marshals and

  19    Sheriffs could take during both the pandemic and post

  20    crisis recovery.

  21        The COVID emergency is disrupting people’s lives

  22    in the most horrific of ways.       So, the last thing

  23    that they should have to worry about is having their

  24    money or property seized.      I am very supportive of

  25    the various addition moratoria by both the state and
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                       12
   2    federal governments and as the Chair of Consumer

   3    Affairs and Business Licensing Committee, I am very

   4    happy to see that we are trying to do what we can on

   5    the local level.

   6        I commend the Speaker on his leadership on this

   7    issue.   I look forward to gathering feedback from our

   8    witnesses today, so that we can ensure that this

   9    legislation successfully achieves its aims.         Before

  10    we begin the testimony, I would like to thank the

  11    central staff for the hours and hours and hours of

  12    work it took to get media prepared and to get this

  13    hearing up and running.      I would also like to

  14    acknowledge the Committee Members who have joined us.

  15    I think we have Council Members Chin, Koslowitz,

  16    Lander, Brannan, Koo, Yeger.

  17        And with that, I don’t know if Robert is back,

  18    but I will —

  19        UNIDENTIFIED:     He’s back.

  20        CO-CHAIR COHEN:     Turn it back over to Rob.       Thank

  21    you, Rob.

  22        CHAIRPERSON CORNEGY:      Sorry about that, I don’t

  23    know we lost my feed a little bit but thank you for

  24    jumping right in Chair Cohen, as you always do and

  25    saving the day.
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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                       13
   2       I want to thank Speaker Johnson and also wish him

   3    a very happy birthday.      Unfortunately, you have to

   4    celebrate it with us in this way but you are always

   5    willing to stand up and be there for us, so I

   6    appreciate you Speaker Johnson.

   7        As we all know the impacts of the novel

   8    coronavirus have been devastating and vast.         At this

   9    hearing, the Committees hope to gain a better

  10    understanding of the economic implications of the

  11    virus.   With special attention paid to the struggles

  12    of tenants as residents citywide face unprecedented

  13    financial strain.

  14        To that end, we’ll also be hearing two pieces of

  15    legislation aimed at protecting tenants as the City

  16    works to recover from this crisis.        In an effort

  17    curtail the spread of the virus, the state has been

  18    on pause since March which has been a critical tool

  19    to facilitate social distancing and save lives.          An

  20    unfortunate but necessary component of this pause is

  21    the closure of nonessential businesses effectively

  22    stalling much of the city’s economy.        The result has

  23    been a loss of employments for hundreds of thousands

  24    of New Yorkers and the numbers continue to grow.

  25
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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                       14
   2       Now, in a city where a disproportionate share of

   3    the population was rent burdened even prior to the

   4    pandemic, more and more residents are not sure how

   5    they will make rent.     In an effort to mitigate some

   6    of the renters concerns, the state and federal

   7    government have each enacted measures to halt

   8    evictions for a period of time.

   9        While this allows tenants to remain in their

  10    apartments for now, it does not guarantee the tenants

  11    unable to pay rent will be able to stay in their

  12    apartment once eviction actions resume.         Or that

  13    tenants will be safe from the landlord harassment on

  14    the basis of having been impacted by the virus.

  15        Today, we will be hearing two bills that seek to

  16    provide additional long term protections to tenants

  17    effected by the crisis.      The first is Intro. 1912,

  18    which is sponsored by the Speaker.        This bill would

  19    prohibit the City Sheriff and Marshals from taking

  20    certain actions related to eviction and debt

  21    collection until the end of the first month after the

  22    state of emergency of September 30, 2020, whichever

  23    is later.

  24        For New Yorkers impacted by COVID-19, the effects

  25    of the bill would be to extend until the end of the
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                       15
   2    seventh month after the state of emergency or April

   3    1, 2021, whichever is later.

   4        Second, is Intro. 1936 which is sponsored by

   5    Council Member Ritchie Torres and the Speaker.          This

   6    bill would make it illegal for a landlord to harass a

   7    tenant based on their status as a person impacted by

   8    COVID-19.    Including whether they are an essential

   9    worker or because they were laid off or because they

  10    received a rental concession or forbearance where the

  11    eviction moratoria were in effect.

  12        We look forward to hearing from the Department of

  13    Housing Preservation and Development, the Department

  14    of Finance and the Commissioner on Human Rights as

  15    well as from interested members of the public about

  16    these bills.    We will now hear an opening statement

  17    from Chair Cohen, well actually, you already heard

  18    that statement from Chair Cohen.        Thank you so much

  19    and I do want to add before we go into testimony that

  20    we’ve also been joined by Justin Brannan, Ritchie

  21    Torres, and Farah Louis.

  22        At this point, I’ll hand it over to Austen.

  23        AUSTEN BRANDFORD:     Yeah, great, thank you.       I am

  24    Austen Brandford, I’m Counsel for the City Council of

  25    Committee on Housing and Buildings and before we
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                       16
   2    start, I want to remind everyone that you will be on

   3    mute until you are called on to testify.         I’d like to

   4    point you will be unmuted by the host.         I will be

   5    calling on panelists to testify.        Please listen for

   6    your name to be called as I will be periodically

   7    announcing who the next panelist will be.         During the

   8    hearing, if Council Members have questions, please

   9    use the Zoom raise hand function and I will call you

  10    in order.

  11        When called upon, please be sure to let us know

  12    to whom your questions are directed, so they can be

  13    unmuted to.    We will be limiting Council Member

  14    questions for four minutes including responses.            Our

  15    first panelist will be Mike McKee, Barika Williams,

  16    Caryn Schreiber and Andy Morrison.        I will call you

  17    when it’s your turn to speak and your testimony will

  18    be limited to three minutes.       A Sergeant at Arms will

  19    keep a timer and let you know when you begin and when

  20    your time is up.     This panel will be followed by

  21    Council Member questions.      You will then hear

  22    testimony from the Administration which will followed

  23    by additional Council Member questions.

  24        Finally, we will hear public testimony.

  25
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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                       17
   2       We will now start with our fist panelist Mike

   3    McKee who will be followed by Barika Williams.

   4        MICHAEL MCKEE:     Good Afternoon.

   5        SERGEANT AT ARMS:     Mike, your clock will begin

   6    when you start your testimony.

   7        MICHAEL MCKEE:     Sorry.   Good afternoon, my name

   8    is Michael McKee, I’m a Treasurer of the Tenants

   9    Political Action Committee.       I want to make it clear

  10    that I’m testifying only on behalf of myself and

  11    tenants not on behalf of any other organization.

  12        We are very much in support of these two pieces

  13    of legislation.     They are important pieces of the

  14    puzzle but I want to parenthetically which Corey a

  15    happy birthday.     I also want to thank the Council for

  16    getting back to work and showing how it can be done

  17    and are very much hoping that this legislation will

  18    follow your lead.     And just as somebody who has been

  19    cooped up for seven weeks, I’m going thank the

  20    Council for taking the leadership on opening our city

  21    streets to pedestrians.

  22        Intro. 1912 and Intro. 1936 are important pieces

  23    of what is needed to protect tenants but it’s not

  24    everything that we need as many of you know and as we

  25    have discussed.     The ultimate thing we need is some
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                       18
   2    kind of cancelation or forgiveness of rent. We are

   3    now facing a situation where literally hundreds of

   4    thousands of tenants all across New York State and

   5    across the country simply cannot pay rent through no

   6    fault of their own because they’ve lost their income.

   7        When the courts reopen and when eviction

   8    moratoria are lifted, we’re going to be in a

   9    situation where a lot of these people are going to be

  10    facing eviction and displacement and that’s why it’s

  11    important that we get rent cancellation in addition

  12    to these other measures.      They are very glad to see

  13    that for people effected by COVID-19, that protection

  14    against eviction will continue into next spring and

  15    we commend you for that.

  16        I want to emphasize that we are talking about

  17    cancelling rents, cancelling mortgage payments, and

  18    cancelling utilities.      And we do believe that mom and

  19    pop landlords need relief as well as tenants.          We

  20    think the big landlords like Black Zone can take a

  21    haircut.   They can certainly absorb this situation

  22    for several months.

  23        I am a volunteer on a hotline sponsored by the

  24    MET Council on Housing and until two or three months

  25    ago, almost all of the calls were how do I get
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                       19
   2    repairs done? How do I force my landlord to fix

   3    something?    Things like that.     The last six weeks the

   4    calls have all been about I can’t pay the rent.           I’m

   5    out of a job.    I’ve lost hours.     My income has been

   6    reduced.    My income has been eliminated.       What do I

   7    do?

   8          We’ve also had a lot of calls from tenants who

   9    want to break their lease because they can’t afford

  10    to pay the rent anymore and of course one thing we

  11    know is that New York State law on breaking lease is

  12    very bad.    We’re hoping to get some relief once the

  13    state legislature goes back into business.

  14          SERGEANT AT ARMS:    Time expired.

  15          MICHAEL MCKEE:     Thank you very much.

  16          AUSTEN BRANDFORD:    Thank you Mike.    We will now

  17    here from Baricka Williams who will be followed by

  18    Caryn Schreiber.

  19          CHAIRPERSON CORNEGY:    One second, I just want to

  20    acknowledge the presence of Fernando Cabrera and

  21    Carlina Rivera.

  22          SERGEANT AT ARMS:    And Barika, your time will

  23    start when you begin your testimony.

  24          BARIKA WILLIAMS:    Good afternoon.    Thank you,

  25    Speaker Johnson, and happy birthday I should also
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                       20
   2    add. Thank you to Chair Cornegy, to Chair Cohen.

   3    It’s nice to see all of you back in my new roll as ED

   4    at ANHD and I’m sorry that we haven’t gotten to

   5    interact except for remotely.

   6        You all know, many of you all know ANHD and our

   7    work on behalf of 80 plus nonprofits, tenants groups

   8    and CDC’s across the city.      We’ve fought for decades

   9    against harassment of tenants, many of which are

  10    things that we’ve accomplished in partnership with

  11    the City Council and specifically with many of the

  12    people on this Zoom call.      And ensuring that all

  13    tenants are protected against harassment especially

  14    during these challenging times.       It is incredibly

  15    important.    We cannot stress how much the stress of

  16    the pandemic of living through this, of losing

  17    people, of losing family members, of struggling

  18    through health is only made more complicated when the

  19    tenants are facing harassment and displacement.          And

  20    facing harassment and displacement in a moment where

  21    that really compromises your safety and the safety of

  22    your family.

  23        So, we fully support expanding the definition of

  24    harassment to include threats based on persons having

  25    been impacted by COVID, the Intro. of 1936 2020.
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       21
   2    Absolutely looking forward to and happy to continue

   3    to work with the City Council to pass this

   4    legislation and to expand these protections.          We

   5    really appreciate the intention behind 1912 and

   6    really applaud the city using its authority over

   7    Sheriffs and Marshals to prevent evictions in this

   8    time and during this current moratorium.

   9        We do have a few concerns with the bill as

  10    currently drafted and that’s because many of ANHD’s

  11    members are nonprofits, are CDC’s who have been their

  12    community caretakers, been on the frontlines

  13    throughout all of this.       And while tenants in these

  14    buildings are often struggling, they absolutely need

  15    relief.   We have a lot of concerns about pushing and

  16    extending the loss of rental income onto the very

  17    nonprofits who are trying to support their

  18    communities throughout this.

  19        We know that statewide, two-thirds of the folks

  20    who filed for unemployment earned $40,000 or less, so

  21    that is really the tenants that mainly reside in our

  22    buildings and in communities and we really just don’t

  23    want to end up in a place where the extension of

  24    anything means that there is a loss of services or

  25    that that burden falls back on our nonprofits that
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       22
   2    we’re going to need because we’re desperately going

   3    to need the affordable housing coming out of this

   4    into the long, the very long term work of recovery.

   5        So, to piggyback on some of what Mike McKee said,

   6    we can’t substitute meaningful rent relief.

   7        SERGEANT AT ARMS:     Time is expired.

   8        BARIKA WILLIAMS:     Okay, but just to say we want

   9    to absolutely make this a priority for all levels of

  10    government.    Thank you.

  11        CHAIRPERSON CORNEGY:      Thank you, very good.

  12    Before we go to the next panelist, I’d also like to

  13    acknowledge that there are at least four or five of

  14    my colleagues who have been here since the beginning

  15    of the hearing.     I neglected to go to my second

  16    screen to see that they were there.        Barry

  17    Grodenchik, Mark Gjonaj, Keith Powers and Helen

  18    Rosenthal have been here from the beginning.          I just

  19    neglected to go to the second screen and see them,

  20    welcome.

  21        AUSTEN BRANDFORD:     Thank you.    We will now here

  22    from Caryn Schreiber who will be followed by Andy

  23    Morrison.     Karen?

  24        SERGEANT AT ARMS:     Karen, your time will start

  25    when you begin your testimony.
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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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         LICENSING                                       23
   2       CARYN SCHREIBER: Thank you. Good afternoon,

   3    thank you Chairpersons Cornegy and Cohen and members

   4    of the Committees for the opportunity to testify on

   5    behalf of the Legal Aid Society.        The nation’s oldest

   6    and largest not-for-profit legal services

   7    organization.

   8        We welcome this opportunity to endorse and share

   9    our view on this legislation and we commend the

  10    committees for holding today’s hearings on both bills

  11    which will provide relief to numerous New Yorkers who

  12    are currently on the edge of homelessness and

  13    financial distress.

  14        We strongly support the passage of the bills and

  15    have some suggested recommendations to strengthen the

  16    legislation.    We strongly support the passage of

  17    Intro. 1912, which will temporarily help in taking

  18    restitution of property and the execution of money

  19    judgments.    As you are aware, the COVID-19 pandemic

  20    is causing devastating and lasting economic hardship

  21    that disproportionately impacts low and moderate

  22    income New Yorkers and communities of color.          This

  23    has caused numbers low and moderate income New

  24    Yorkers to default or fall behind on financial

  25    obligation.
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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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         LICENSING                                       24
   2       The COVID-19 pandemic has amplified New York

   3    City’s ongoing housing crisis in ways that are

   4    impossible to ignore.      Housing insecurity is a brutal

   5    fact of life for many New Yorkers.        44 percent of New

   6    York City renters are rent burdened and four out of

   7    ten low income people in New York are either homeless

   8    or severely rent burdened.

   9        A budget overwhelmed by housing costs increase

  10    the families risk of food insecurity, lack of access

  11    to proper medical care and addiction and with little

  12    room for savings, a reduction in work hours or an

  13    unexpected expense may cause turmoil and ultimately

  14    displacement.    And similar to the COVID-19 pandemic,

  15    involuntary displacement is not born equally in New

  16    York City where low income, Black and Latinx

  17    households are most impacted by eviction

  18    homelessness.

  19        Housing and security now impacts a far broader

  20    range of households than it did earlier this year.

  21    For low and moderate income renters on the precipice

  22    rent burdened and without savings, they have now

  23    fallen off of a financial cliff.        While New Yorkers

  24    are right now protected from eviction by Governor

  25    Cuomo’s 90-day statewide eviction moratorium, the
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       25
   2    economic landscape is unlikely to be dramatically

   3    altered by the end of the state moratorium on June

   4    20th.

   5        By June 20th, renters will owe months of rent

   6    arrears and fees.     Many will promptly face eviction

   7    proceedings seeking thousands of dollars of debt and

   8    disposition.    Far from solving up the crisis, the end

   9    of this short term moratorium will be catastrophic

  10    for renters.

  11        The eviction of any one household is a tragedy

  12    and the eviction of thousands of renter households is

  13    a humanitarian crisis.      The consequences of eviction

  14    are vast and have devastating long term negative

  15    impacts.   Similarly, New Yorkers face financial

  16    challenges beyond eviction and the hardships imposed

  17    by money judgments are equally as devastating for

  18    individual judgment debtors and communities at large.

  19        An increasing number of judgment debtors have

  20    contacted the Legal Aid Society in the last few weeks

  21    seeking assistance due to frozen bank accounts and

  22    garnished wages.

  23        So, we suggest, well we support the legislation,

  24    we have a few suggestions that will further reduce

  25    the harm including clarifying —
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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                       26
   2       SERGEANT AT ARMS: Time is expired.

   3        CARYN SCHREIBER:     Thank you.

   4        AUSTEN BRANDFORD:     Thank you Caryn.      We’ll now

   5    here from Andy Morrison and open up for Council

   6    Member questions.     Andy?

   7        SERGEANT AT ARMS:     Andy, your time will begin

   8    when you start your testimony.

   9        ANDY MORRISON:     Thank you Chairs Cohen and

  10    Cornegy and members of the Committees for the

  11    opportunity to testify today.       My name is Andy

  12    Morrison and I’m Campaigns Director at New Economy

  13    Project and many of you know us and our work.          We are

  14    an economic justice organization that works with

  15    community groups and low income New Yorkers

  16    throughout New York City.

  17        We strongly support Intro. 1912.        We urge the

  18    Committee to take swift action to move the bill

  19    forward, so that the full body can pass it into law

  20    as soon as possible and we commend Speaker Johnson

  21    and other sponsors of this emergency legislation for

  22    their leadership.

  23        We have calling for several weeks now for a

  24    statewide emergency moratorium on predatory debt

  25    collection and we’re very pleased that in the absence
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       27
   2    of state level action, members of the Council are

   3    taking this crucial step to protect New Yorkers.             At

   4    New Economy Project, we run a free legal hotline for

   5    low income New Yorkers and we’ve heard over the years

   6    from thousands of New Yorkers who have been harmed by

   7    discriminatory and abusive debt collection.         And

   8    since COVID-19 gripped our city, we’ve been flooded

   9    with a new spade of calls from low income New Yorkers

  10    who are being hounded by debt collectors.         It should

  11    just go without saying that no New Yorker should be

  12    having his or her bank accounts frozen or wages

  13    garnished and as debt collectors continue to siphon

  14    wealth from New Yorkers and from communities, the

  15    predatory debt collection is morphed into a public

  16    health crisis and so, we really need this action to

  17    further and ensure economic and racial justice and

  18    community equity.

  19        A lot of the New Yorkers we’ve heard from have

  20    been speaking out and sharing their stories and I

  21    just want to read one testimonial from a Brooklyn

  22    resident named Veronica and refer you to our written

  23    testimony where we have included several others.

  24        “I just found out that my paycheck was garnished.

  25    I don’t know what it’s for.       I can’t afford to have
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       28
   2    any money taken away right now. My two daughter and

   3    two grandchildren live with me.       I’m trying to

   4    support my family but everything is uncertain.          My

   5    job has cut the number of days that I go into work

   6    for safety reasons.     One of my daughters lost her job

   7    because of coronavirus.      That money was taken from

   8    me, could have gone toward a lot of other things that

   9    I am worried about right now, like food, disinfecting

  10    supplies, and other things I need to keep my family

  11    healthy.

  12        Stories like this underscore the need for bold

  13    action and as we address this issue in the immediate

  14    term, we also want to underscore the need to be

  15    thinking about the structural inequities that underly

  16    this crisis from lack of healthcare to housing

  17    insecurity and discrimination built into our

  18    financial system.     So, in addition to addressing this

  19    issue in the immediate term, which we urge the

  20    Council to do right away, we also want to encourage

  21    the Council to be thinking about broader measures

  22    including debt cancellation and other more structural

  23    solutions to our unequal economy.

  24        SERGEANT AT ARMS:     Time is expired.

  25
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         COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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         LICENSING                                       29
   2       AUSTEN BRANDFORD: Thank you Andy. We will now

   3    open it up to the questions from Speaker Johnson,

   4    Chair Cornegy and Chair Cohen before moving to

   5    general council member questions.

   6        SPEAKER JOHNSON:     Thank you Austen, it’s good to

   7    see you.   I hope you are safe and healthy.        Let me,

   8    give me one moment.     So, I wanted to start off for

   9    anyone on the panel and I want to thank you for the

  10    work that you’re doing.      You’ve really been at the

  11    forefront on these issues and even though two-thirds

  12    of New Yorkers are renters, they certainly aren’t

  13    getting two-thirds of the help.

  14        We’ve seen a lot more support be announced for

  15    landlords and mortgage holders and we have to make

  16    sure as this hearing is about that we’re not leaving

  17    tenants behind.     It’s governments job to solve this

  18    problem.   There have been devastating personal

  19    impacts for many New Yorkers but this crisis also

  20    threatens the city’s budget.       If people aren’t able

  21    to pay their rent, we will see a drop in property tax

  22    revenue and if people can’t afford to pay their

  23    bills, we will see less spending and that means less

  24    money in sales tax revenue.       All of that means less

  25
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                       30
   2    money for the social safety net, which we need more

   3    than ever right now.

   4        So, the Council is doing what we can but we’re

   5    going to need more help.      I’ve been advocating for a

   6    lot more money from the federal government and we

   7    need the state to cancel rent as we’ve seen in these

   8    bills but they’re calling for money from the feds as

   9    well.

  10        So, I want everyone watching to understand how

  11    serious this is.     Can each one of you talk about what

  12    you think will happen if we don’t figure this out?

  13    If New Yorkers who need help with rent don’t get it.

  14    And maybe we can start with Mike McKee.

  15        MICHAEL MCKEE:     Thank you Mr. Speaker.      I think

  16    we’re facing, I forgot which witness it was that said

  17    this is a humanitarian crisis.       I mean, that’s

  18    exactly what this is going to be.        There is going to

  19    come a point when the courts reopen and when these

  20    moratoria on eviction are lifted where literally tens

  21    of thousands, hundreds of thousands if you look at it

  22    statewide or nationwide, of tenants who just can’t

  23    pay the rent are going to be facing displacement.

  24    And another issue is that the courts are simply going

  25    to be overwhelmed with eviction cases.         Right now,
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       31
   2    landlords cannot file new eviction cases but at some

   3    point, they will be allowed to do that.         This is all

   4    going to pile up, so there has to be money from the

   5    federal government targeted specifically to housing

   6    and rent relief.     There has to be a cancellation of

   7    rent.

   8        It’s my view that at some point Andrew Cuomo is

   9    going to end his stonewalling on this issue and

  10    recognize that something must be done.         And that, if

  11    you don’t just cancel the rent and then figure out

  12    how to take care of mom and pop landlords while

  13    you’re doing that.     And as Barika pointed out,

  14    nonprofit landlords have special needs to and they

  15    don’t gouge their tenants.      So, they are really

  16    running at a very low margin if any.

  17        This all has to be done and it is governments job

  18    to do it and if it isn’t done, it’s going to be a

  19    disaster and I don’t think ultimately government or

  20    the courts are doing to sit by and let that happen.

  21    I cannot imagine most Judges presiding over eviction

  22    after eviction after eviction, human nature being

  23    what it is and Judges being who they are, I would

  24    suspect they are going to be pressuring landlords and

  25    tenants to come to some kind of settlement possibly
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       32
   2    where tenants pay some of the rent if they can. I

   3    don’t know, maybe some kind of fund to help make this

   4    up, but I think it’s a very dangerous and serious

   5    situation that we just can’t ignore and I think that

   6    by not talking about it now and by basically

   7    stonewalling on it, the governor is creating a lot of

   8    fear and anxiety.     And I think it’s time that

   9    everyone in state government, our friends in the

  10    state legislature and the governor recognize that

  11    this is a serious issue that has to be addressed.

  12    The city can only do so much and I think it’s

  13    commendable that you’re doing what you’re doing but

  14    if we don’t have federal and state government

  15    weighing in on this, we’re not going to be able to

  16    deal with this.     There’s not going to be a solution

  17    that’s going to keep people in their homes.

  18        SPEAKER JONNSON:     I’m not going to let; I have

  19    other questions and I want to get through them

  20    quickly because we have a lot of Council Members on.

  21    I want to go to ANHD.      You all have been ringing the

  22    alarm for weeks.     Your analysis has shown this crisis

  23    is hitting Black and Brown working class

  24    neighborhoods the hardest.      I know you are certainly

  25    seeing this when it comes to tenants loss of income
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       33
   2    and the inability to pay rent. What are you all

   3    seeing on the ground with respect to small

   4    businesses, vendors, particularly immigrant owned

   5    businesses?

   6        BARIKA WILLIAMS:     Thank you for that Speaker

   7    Johnson.   I mean, as we’ve seen for so many people,

   8    we’ve seen our immigrant and Black and Brown

   9    businesses are the hardest hit.       Many of them were

  10    unbanked or underbanked before and so, there has been

  11    a lot of conversation, a lot of work at the federal

  12    level because many of these small businesses have

  13    been entirely shut out, if not by process shut out of

  14    the federal aid.

  15        But it also feeds into the side of things that as

  16    residential tenants and the broader community

  17    supports, because often times these are businesses

  18    that are tied to some of our residential buildings.

  19    They are the businesses that are supporting people’s

  20    incomes.   Obviously the longer they stay shut and

  21    impacted, the more we’re impacting peoples earnings

  22    and so, this all ultimately gets tied together.

  23        One of the things we’re hearing on the ground

  24    from many of our members is really, to put the human

  25    side on it as Mike McKee was talking about, really
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       34
   2    being confronted with the challenges of because their

   3    government is not stepping in.       Because at the city,

   4    at the state, at the federal and I know you all are

   5    limited in how much you can do and what you are able

   6    to do in this but there hasn’t been a clear approach

   7    and relief package for residential tenants.         And so,

   8    what these landlords are being confronted with is

   9    going to tenants that they know have lost their jobs,

  10    know that their businesses aren’t open because they

  11    are around the corner.      Know that they are not able

  12    to help them get a loan with the bank that they have

  13    a relationship with and then also, being faced with

  14    having to knock on their door and ask them, what can

  15    we do about rent?

  16        And our groups really don’t want to be put in

  17    that position, right.      At the end of this down the

  18    line, what we’re looking at is if we do not figure

  19    out a rent relief package, in some way shape or form,

  20    we are looking at an explosion of our homeless

  21    population and explosion in our Human Services needs.

  22    Because we’ve got tons of people going to food banks

  23    now but where will we be then and what little

  24    intergenerational wealth that we have built for

  25    immigrant communities and Black and Brown communities
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       35
   2    will be absolutely wiped out. And as we kick this

   3    down the road, as we go from four months’ worth of

   4    rent out a $1,400 rent, is like $5,600.         Most

   5    families don’t have more than $400 or $700 in

   6    savings.

   7        So, there is no possibility and that savings,

   8    they are already burning through.        So, the likelihood

   9    that they are able to take and pay that back, even

  10    over a one year timeline is just incredibly slim.

  11        So, what we’re really talking about is creating

  12    like a long term debt burden for people that they

  13    know they will never get out of.

  14        SPEAKER JOHNSON:     Thank you.    Thank you Barika.

  15    I want to go Legal Aid for a quick question.           This

  16    crisis is deepening the inequalities that you just

  17    heard about that we had even before coronavirus hit

  18    our city.    Low income communities of color are taking

  19    the brunt of the health impacts and if we don’t do

  20    more to help with debt and rent, we’re going to see

  21    the irreversible economic impacts that Barika just

  22    spoke about.    Can you talk about what you are seeing

  23    on the ground?    What are your clients facing in terms

  24    of economic hardships?      How important is taking care

  25
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       36
   2    of the rent issue, in terms of helping New Yorkers

   3    out?

   4        CARYN SCHREIBER:     Thank you for that question

   5    Speaker Johnson.     It is helping renters in this city

   6    is of the upmost importance right now as the other

   7    witnesses have said, people are struggling and they

   8    will be struggling even further come June, come this

   9    fall.   The rent continues to accrue and people are

  10    terrified.    That’s what we are seeing.

  11        We are seeing people, hearing from clients who

  12    don’t know how they will pay their rent in May, don’t

  13    know how they will pay their rent in June and going

  14    forward.   They are preparing for and resigning

  15    themselves to having to leave their homes, which has

  16    as I mentioned before very dramatic negative effects

  17    on employment outcomes, school performance and

  18    physical and mental health.

  19        We appreciate the City Council’s recognition of

  20    this tremendous need and we hope that the state and

  21    federal governments will do more here because we are

  22    faced with a reckoning and come June, we will see

  23    tenants brought to Housing Court on a tremendous

  24    scale and scale that the courts will not be able to

  25
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       37
   2    handle and that the city’s infrastructure will not be

   3    able to handle.

   4        SPEAKER JOHNSON:     And Caryn on that point, I just

   5    want to hear Legal Aids thought on this.         There are

   6    two temporary eviction moratoriums that could apply

   7    to New Yorkers right now.      There’s the states 90-day

   8    moratorium and then there is the 120-day federal

   9    moratorium that applies to properties with a

  10    federally backed mortgage.      Does it seem like tenants

  11    and even landlords understand what protections apply

  12    to them or their tenants?

  13        CARYN SCHREIBER:     Unfortunately, I think no they

  14    don’t.   We are hearing from our partners around the

  15    country to that.     The federal moratorium is causing a

  16    lot of confusion or well, confusion I guess, for

  17    landlords who don’t realize that people cannot be

  18    evicted for nonpayment if they reside in a property

  19    that has a, as you said Mr. Speaker, a federally

  20    subsidized mortgage or has another subsidy attached.

  21        That federal moratorium covers a certain portion

  22    of tenants and other renters from again, eviction for

  23    nonpayment through the end of July but it doesn’t go

  24    far enough.    It seems to relate again only to

  25    nonpayment proceedings, leaving open other types of
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       38
   2    proceedings where nonpayment could be an issue but is

   3    not explicitly stated.

   4        And further, it’s only I believe less or a little

   5    bit more than 30-days longer than the current state

   6    moratorium.    So, even if more than half of New York

   7    City’s renters are covered by the federal moratorium,

   8    come the end of July, we will see the same thing that

   9    we will see at the end of June likely.

  10        SPEAKER JOHNSON:     Thank you.    I have more

  11    questions but I want to go back to the Chairs, so

  12    they can get through some of their questions and then

  13    we’ll go to the Council Members.        I can come back

  14    later to ask the rest of my questions for this panel.

  15        So, I turn it back to either Chair Cornegy or

  16    Chair Cohen.

  17        CHAIRPERSON CORNEGY:      Thank you Speaker Johnson.

  18    Both Barika and Mike have alluded to this fine line

  19    that has to be drawn and the governor has to be

  20    involved while protecting you know, tenants, small

  21    homeowners as well not burdening them and it’s a

  22    delicate balance.     As the Chair of the Committee, I

  23    am also faced with doing that and I’m acutely aware

  24    that the input of the state and federal government in

  25    doing that is essential.      I just wanted to ask
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          LICENSING                                       39
   2    statistically, do you know the ratio between big

   3    buildings and big building owners as landlords as

   4    compared to small homeowners?       I had heard that there

   5    is a statistic that there actually maybe more small

   6    homeowners responsible for the makeup of tenancy,

   7    that it actually is big buildings.        I just wanted to

   8    know, I know you probably, the two of you I know you

   9    probably know.    I’m just curious as to what that is.

  10        MICHAEL MCKEE:     Barika, you want to go first.

  11        BARIKA WILLIAMS:     I mean, I actually don’t know

  12    that number off the top of my head but I could

  13    probably get it for you in about two minutes.          So, if

  14    you give me a second Council Member, I can pull that

  15    but I also would say one thing that’s a little bit

  16    challenging here is that sometimes it’s not a clean

  17    break between the size of the building.         It’s really

  18    about the type of owner, right.       We’ve seen big

  19    investment firms and specifically hedge firm

  20    companies buy up a series of buildings across an

  21    entire neighborhood but these are one to four family

  22    homes, so Bushwick is one of the places that’s been

  23    rampant for this.     We want to treat them who have

  24    investors and backers and reserves very differently

  25    than the understanding of a first time homebuyer who
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          LICENSING                                       40
   2    is likely being supported by some of the groups that

   3    you will hear from today; Impact, Chhaya, right,

   4    CNYCN, some of these groups that are really trying to

   5    build new homeownership across the city.         And part of

   6    their ability to pay for the mortgage is that first

   7    time homeowner collecting rent or in one or two units

   8    of somebody that they know and they have a

   9    relationship with and they are trying to support

  10    their tenant.    Those are two very different things

  11    and the hard thing is that by slicing it just by

  12    stock, they kind of get blurred together.

  13        CHAIRPERSON CORNEGY:      So, Mike, before you try —

  14        MICHAEL MCKEE:     Well, I don’t have exact numbers

  15    for you but we can certainly dig that up.         The data

  16    show very clearly that the majority of rent

  17    stabilized apartments in New York City are owned by

  18    large landlords.     There is no question about that but

  19    it’s also true that a majority of owners are small

  20    landlords who own one or two buildings.         And as

  21    Barika pointed out, there are small landlords and

  22    there are small landlords and in fact, one of the

  23    thing predatory investors have done in the aftermath

  24    of the 2008 economic crisis is they went around the

  25    country and bought up mobile home parks and they
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   2    bought up even single family homes that have been

   3    foreclosed and turned them into rental properties

   4    where they are gouging and evicting people.

   5        So, the mere size of the building is not what you

   6    need to look at.     You need some kind of system where

   7    you can actually ascertain who people are.         Just for

   8    example, there is a very famous landlord from

   9    Brooklyn who comes to the Rent Guidelines Board every

  10    year and testifies that he is a small landlord.

  11    Well, when he started out doing this back in the

  12    1980’s, he owned one 20-unit building.         He now owns

  13    nine 20-unit buildings.      All rent stabilized, of

  14    course, now he has some deregulator departments

  15    thanks to Peter Vallone and thanks to George Pataki

  16    but you know, he’s done very well under rent

  17    stabilization.    He owns 180, 9 times 20, 180

  18    apartments and he bought these new building while he

  19    was running his original stabilized building.

  20        So, it’s not cut and dried and you can’t simply

  21    go by the size of the building.       You have to go by

  22    pattern of ownership and other factors but we can

  23    certainly prepare numbers for you that will help you

  24    understand who owns what.

  25
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         LICENSING                                       42
   2       CHAIRPERSON CORNEGY: Well, I appreciate that but

   3    I also know that it is very difficult to do that

   4    because as you mentioned, you have these hedge funds

   5    who are operating as individual LLC’s to some degree.

   6    So, trying to get the cumulative affect of their

   7    buying power sometimes is difficult.        We’ve tried to

   8    look into, but you know, LLC’s federally are

   9    protected from who their owners are.        So, we know

  10    that that is happening as well.

  11        I just want to be mindful because there are some

  12    small homeowners who while their tenants will be

  13    getting some help and some relief, they still, are

  14    subject to rising energy costs and things like that

  15    that kind of make it difficult.       So, I’m just, I’m in

  16    precarious position, I’m screaming at the governor

  17    just like you guys are because we need help.          We need

  18    to be able to disseminate you know, who is who.

  19    That’s going to be very important to do and we don’t

  20    have a whole bunch of time to do it.        So, I look

  21    forward to working with the entire first panel to

  22    make sure that we continue some of this apart and

  23    target those that we need to target and support and

  24    help those that we need to help in terms of

  25    homeowners and/or landlords.
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         LICENSING                                       43
   2       So, we got to walk and chew gum at the same time.

   3    Andy?

   4        CO-CHAIR COHEN:     Thank you very much Rob.       I’ll

   5    be very brief.    Mike, in your testimony, you talked

   6    about calls that you are taking now as a volunteer.

   7    What do you tell tenants who call now who can’t pay

   8    the rent?    Is Mike able to hear me?

   9        MICHAEL MCKEE:     I’m sorry, my internet is

  10    apparently unstable.     I keep getting this prompt

  11    saying your internet connection is unstable.

  12        So, I heard part of what you said Council Member.

  13        CO-CHAIR COHEN:     What I was wondering is you said

  14    that you are volunteering and taking calls from

  15    tenants.    I’m just curious, what are telling tenants

  16    today who call and say they can’t pay their rent?

  17        MICHAEL MCKEE:     Well, you have to deal with it

  18    first as a matter of common sense.        It’s a question

  19    between feeding your family and paying the landlord.

  20    There is no choice, you have to feed your family.

  21        I do tell people that if you can put aside some

  22    of the rent, you should do that because down the

  23    road, just the ability to pay partial rent might be

  24    useful in terms of individual negotiations in a

  25    landlord/tenant proceeding.       But of course, there are
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          LICENSING                                       44
   2    people that can’t do even that and it’s you know, we

   3    refer people to local community groups, we refer

   4    people to lawyers when they need a lawyer.         There is

   5    not a lot you can tell people except that you know,

   6    hunker down, and get through this and stay safe.

   7        You can’t tell people to save money when they

   8    don’t have an income but it all depends on the

   9    individual situation when you talk to the tenant who

  10    is calling in.    We also have resources that we refer

  11    people to —

  12        CO-CHAIR COHEN:     I think we lost Mike again.

  13        MICHAEL MCKEE:     I think there are even more who

  14    won’t be able to pay on May 1st and there are other

  15    tenants who can pay but who are going to withhold

  16    rent out of solidarity which I have no problems with

  17    if they want to do that but ultimately this has to be

  18    a government solution.

  19        CO-CHAIR COHEN:     Briefly, Caryn Schreiber from

  20    Legal Aid, in your testimony also, you said that you

  21    had some suggestions on possibly improving the bill.

  22    I don’t know if you submitted written testimony in

  23    which those suggestions were made otherwise, I’m

  24    interested in them.

  25        Can we unmute Legal Aid?       You are unmuted.
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         LICENSING                                       45
   2       CARYN SCHREIBER: Yes, thank you for that

   3    question.    We did submit written testimony that

   4    outlines some our recommendations.        I was out of time

   5    and was unable to get to them.

   6        CO-CHAIR COHEN:     If you have them for the record,

   7    that’s fine.

   8        CARYN SCHREIBER:     Okay, thank you very much Mr.

   9    Chair.

  10        CO-CHAIR COHEN:     Thank you Rob.     Austen, I’m

  11    done.

  12        AUSTEN BRANDFORD:     Great, any more questions from

  13    Speaker Johnson?

  14        SPEAKER JOHNSON:     No, we can go to the other

  15    members, I can come back after them.        I don’t want to

  16    hold up the other members who are waiting.

  17        AUSTEN BRANDFORD:     Okay, sounds good.      So, I will

  18    now call on Council Members to ask questions in the

  19    order they have used in the Zoom raise hand function.

  20    I’d like to also note that Council Members Torres,

  21    Yeger and Powers have already raised their hands to

  22    ask questions of the Administration after their

  23    testimony.

  24        Council Members, please keep your questions to

  25    four minutes including responses.        If there is a
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          LICENSING                                       46
   2    second round of questions Council Members questions

   3    will be limited to two minutes.       A Sergeant at Arms

   4    will keep a timer and let you know when your time is

   5    up.    Our first question will come from Council Member

   6    Yeger followed by Council Member Cabrera.

   7          SERGEANT AT ARMS:   And Council Member Yeger, your

   8    clock will start when you begin your testimony.

   9          COUNCIL MEMBER YEGER:    I’m not testifying, I’m a

  10    member of the Council.      How are you, thank you.

  11          First of all, I’d like to echo Mr. Speaker, I

  12    agree with a portion of his opening statement that we

  13    do need rent cancellations, we do need reductions.           I

  14    also believe as Mr. McKee said, and Mike McKee has

  15    been a leader in tenant advocacy, so this is an

  16    important point from him that that has to go hand and

  17    hand with relief for landlords.       So, particularly

  18    small landlords, I’m not worried about the very large

  19    landlords, I am worried about the small landlords.

  20    Excuse me, I have some background noise, but my

  21    question more importantly is to Ms. Schreiber and

  22    since you are the only lawyer on the panel, I wanted

  23    to ask you this question.      With regard to your

  24    Introduction 1912, my understanding and you can

  25    correct me if I’m wrong is that the authority of a
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          LICENSING                                       47
   2    Sheriff or a Marshal to execute a judgement comes

   3    from state law.     And state law particularly the CTLR

   4    with respect to execution is what a Sheriff perceives

   5    it contained the word shall.

   6        Do you believe that the City Council has the

   7    authority to supersede state law and to replace the

   8    word shall when a Sheriff receives a lawfully

   9    received an executed and commit execution or money

  10    judgement execution or a warrant.

  11        CARYN SCHREIBER:     So, thank you very much for

  12    that question Council Member Yeger.        We believe, well

  13    with regard to City Marshals specifically, that the

  14    Mayor has the authority to direct City Marshals to

  15    stop enforcement of judgements and that the City

  16    Council has the power to legislate here as a result.

  17        COUNCIL MEMBER YEGER:      Okay, and that the City

  18    Council, not withstanding the fact that if a judge or

  19    clerk of the court or an officer of the court signed

  20    an execution that says at the top, the people of the

  21    State of New York to any Sheriff or Marshal and gives

  22    it to a Sheriff, the Sheriff can put it aside because

  23    we passed a law that says so?

  24        CARYN SCHREIBER:     I think that the Sheriff would

  25    not be placing the judgement aside indefinitely.             It
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          LICENSING                                       48
   2    could be exe— it will be executed let’s say, not

   3    could.   It will be executed when the moratorium is

   4    lifted and it would not be flying in the face of

   5    state law to say that that judgement is going to be

   6    paused for lack of a better word for now.         Until such

   7    time has passed that it makes sense for the community

   8    at large for judgements to resume being enforced.

   9        COUNCIL MEMBER YEGER:      I appreciate that very

  10    much.    Well, the Sheriff is going to come on and

  11    testify in a little while and I’m interested in

  12    hearing his opinion on this topic.        But I appreciate

  13    all of the advocates who came today and the important

  14    work that you do.     Of the lawyers who are on the

  15    front line and Mike McKee who is a legend in tenants

  16    rights and tenants offenses and I’m a tenant too and

  17    you know, I can pay my rent, so I’m going to and I

  18    will.    But there are a lot of people who are

  19    suffering right now and can’t.       And I’m going to use

  20    the remaining clock that the Sergeant has at 40

  21    seconds to say that I do believe there are things

  22    that the City Council can do to relieve the burden on

  23    the owners in addition to the tenants because it

  24    can’t just be that tenants stop paying rent simply

  25
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          LICENSING                                       49
   2    because we say so and not withstanding that they are

   3    not able to afford it.

   4        Tenants who don’t pay rent and can’t afford it

   5    will never be able to make that up and that’s going

   6    to leave a hole.     And we have to do it on both ends,

   7    we have to help the tenants and freeze their rent and

   8    we also have to help the landlords and we can do it

   9    on taxation.

  10        We can do something to relieve the tax burden by

  11    stopping the interest payments on late payments.

  12        SERGEANT AT ARMS:     Time expired.

  13        COUNCIL MEMBER YEGER:      Okay Serg.    We can stop

  14    the interest on late payments and allow the owners to

  15    have a little bit of float so that they don’t have

  16    the proverbial gun to their head on making payments

  17    at the same time that they are not receiving an

  18    income.

  19        So, that’s why your advocacy on this Mike is so

  20    important because you are recognizing that it does

  21    come from both ends.     We can’t just stop it on one

  22    end, we do also have to help those people who have

  23    those 20 unit buildings before they get the other 8

  24    20-unit buildings.

  25
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         LICENSING                                       50
   2       And so, I want to thank you all. Thank you very

   3    much Mr. Chair and I yield back.

   4        AUSTEN BRANDFORD:     Thank you.    We will now hear

   5    from Council Member Cabrera followed by Council

   6    Member Powers.

   7        SERGEANT AT ARMS:     And your clock will start now.

   8        COUNCIL MEMBER CABRERA:      Thank you so much.

   9    First, I want to wish our Speaker a super happy

  10    birthday and the lord bless you and give you many,

  11    many more years.

  12        SPEAKER JOHNSON:     Thank you.

  13        COUNCIL MEMBER CABRERA:      And also, I want to

  14    thank the Speaker, the Chairs for being so

  15    parsimonious with your questions to get to the rest

  16    of us.   I know I can speak on behalf of my

  17    colleagues; we really truly appreciate it.

  18        My question is in regards — I have a couple of

  19    questions real quick.      Does it make more sense to

  20    have to state and the city come up with a fund that

  21    pays for those who are struggling with the rent?             For

  22    those who were unemployed, we know the full list.

  23    There are people who are employed.        There are people

  24    who actually make more money than ever.         But we have

  25    a big segment that is in a tremendous need.         Doesn’t
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       51
   2    it make more sense to have the state and the city

   3    come up with a fund to pay for those rent, just like

   4    Delaware.    This is not unprecedented.      The State of

   5    Delaware pay for the rent for all the renters?

   6        My second question because I’m going to run out

   7    of time is that if the nonprofits organizations are

   8    excluded, wouldn’t it make also sense to include

   9    those landlords, they have the same business plan,

  10    they have the same agreements with HPD when it comes

  11    to, you know, many of them they have Title 11.          There

  12    were agreements in place to be able to have low rent.

  13    And also, the last thing is Assemblywoman Inez

  14    Dickens; I was in a meeting the other day and she was

  15    very much afraid of landlords or minority owned

  16    landlords that could essentially be wiped out if they

  17    are not able to collect rent and we could see pretty

  18    much the end of a generation of minorities who own

  19    property.

  20        So, here trying to find that balance, which I

  21    know is very difficult.      So, I’ll turn it over to the

  22    panel for some wisdom.

  23        BARIKA WILLIAMS:     So, I think — this is Barika.

  24    I think I can pick up on the minority landlords and

  25    CDC’s.   I think we see those as being interrelated.
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          LICENSING                                       52
   2    We do have some large landlords who are minority

   3    owned but by and large that’s rarer in the city.

   4        I was able to pull those numbers and just so

   5    folks know, I think it’s about 13 percent of

   6    landlords own one building or less in New York City

   7    as compared to 27 percent that own 61 buildings or

   8    more.   So, that’s sort of the spread that we’re

   9    talking about.    There is relatively few buildings

  10    that are owned by small landlords.        But in both cases

  11    when it comes to CDC’s, when it comes to some of our

  12    community controlled, like CLT’S or our limited

  13    equity co-ops and then also our MWBE developers.

  14    They face slightly different challenges.         Our

  15    affordable housing have so many regulations that are

  16    put on them by HPD but also at the federal level that

  17    dictate their contracts, what they can collect in

  18    rents but also what they can charge, how much they

  19    can have in reserves.

  20        And so, they don’t have the ability to sort of

  21    pull in from other buildings and other locations.

  22    Likewise, though there are concerns similarly for our

  23    minority developers and landlords sometimes because

  24    we do know that they are underbanked and often

  25    underserved.
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         LICENSING                                       53
   2       SERGEANT AT ARMS: Time is expired.

   3        BARIKA WILLIAMS:     On loans and they get higher

   4    rates.

   5        COUNCIL MEMBER CABRERA:      Thank you.

   6        AUSTEN BRANDFORD:     Thanks Council Member.       The

   7    next person is going to be Council Member Powers

   8    followed by Council Member Koo, but first I want to

   9    remind everyone to identify to whom your questions

  10    are directed, so they can be unmuted to.         Council

  11    Member Powers.

  12        SERGEANT AT ARMS:     And your clock will start now.

  13        COUNCIL MEMBER POWERS:      Great, thank you.      Happy

  14    birthday Mr. Speaker.      I hope you are enjoying it and

  15    thanks to everybody for your testimony and everybody

  16    viewing at home.     I hope everybody is safe and

  17    healthy.

  18        This is directed to any members of the panel, I

  19    guess I can start with Mike McKee, but other folks

  20    are obviously helpful to join in.        I wanted to echo

  21    some of the comments that were made earlier.          I do

  22    think that it’s important that we, at the state and

  23    local level, you know, ensure that folks are not

  24    being evicted at this point and time based on loss of

  25    income or inability to move out of an apartment.
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          LICENSING                                       54
   2    There is just so many reasons why we need to make

   3    sure that people have some housing stability but

   4    particularly right now.

   5        I am concerned that we also should be providing

   6    people with the ability and a better ability to pay

   7    their rent in the meantime which is good for all

   8    stakeholders that we’re talking about here.         And you

   9    know, we put out some proposals and suggest some

  10    things like flexibility in terms of using the

  11    security deposit to be able to pay the next months

  12    rent.   Obviously, that only covers one month but you

  13    know to give you a bridge in the time period that

  14    we’re talking about.

  15        My landlord has offered rent deferral programs to

  16    be able to pay part of your rent or just to be able

  17    to push a months rent back and pay later, which I

  18    also have some concerns.      But enhance rent programs,

  19    things around SCRIE to enhance the SCRIE program for

  20    people in need.

  21        For me, it’s really important that we also make

  22    sure people can find ways and creative ways to make

  23    sure that people have the ability to pay rent and I

  24    wanted to hear ideas or thoughts on in addition to

  25    just an eviction moratorium, other ways that the city
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       55
   2    or state can be interceding to help people be able to

   3    pay the rent and what creative measures you might be

   4    able to employ right now to not just shift the

   5    onerous over to those who own property some are mom

   6    and pop, some are large but to actually assist with

   7    the tenants ability to pay right now.

   8        MICHAEL MCKEE:     Well, that’s a mouth full.

   9        COUNCIL MEMBER POWERS:      That’s a mouth full, I’m

  10    sorry.

  11        MICHAEL MCKEE:     I’m not sure which part of the

  12    question —

  13        COUNCIL MEMBER POWERS:      Well, just other ideas.

  14        MICHAEL MCKEE:     If I could back just a little bit

  15    Council Member.     I think we all need to acknowledge

  16    that during the 25 years that we had vacancy

  17    decontrol in effect and other deregulation

  18    amendments, and I want to remind you that it was not

  19    the republicans in Albany who first stuck us with

  20    permanent vacancy decontrol.       It was the democrats in

  21    the New York City Council in 1994 under the

  22    leadership of Speaker Peter Vallone.

  23        But during that 25 years that we had vacancy

  24    decontrol and other weakening amendments in effect,

  25    most of which were repealed last year, thank God.
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       56
   2    There was a huge hit on affordability to housing, not

   3    just rent regulated housing but housing in general in

   4    the downstate region.      And we are still living with

   5    the effects of that hit on affordability.         Rents are

   6    much less affordable now than they were 25 years ago.

   7    25 years ago, no one thought that $2,000 a month

   8    would be a normal rent in Brooklyn or Queens.          In

   9    fact, Council Member after Council Member that we

  10    were trying to convince to vote against Peter Vallone

  11    Decontrol bill from Brooklyn, Queens, and the Bronx

  12    all said, “I don’t have any apartments in my district

  13    renting for $2,000 a month.”       And we said, just pass

  14    this bill and wait ten years and you will and who was

  15    right?   Were we right or were they right?        I rest my

  16    case.

  17        But there are a whole bunch of things that could

  18    be done.    We won a lot of things last year but we did

  19    not get everything we need.       There was no rent

  20    rollback.

  21        SERGEANT AT ARMS:     Time expired.

  22        MICHAEL MCKEE:     The apartments that were

  23    deregulated were not reregulated and we did not get

  24    good cause eviction passed for small buildings.

  25    Those are things that need to be done.
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         LICENSING                                       57
   2       COUNCIL MEMBER POWERS: Mike and amen and I

   3    certainly don’t have any apartments at [INAUDIBLE

   4    1:04:26] I think at this point in my district, but

   5    I’m just wondering if there are things right now you

   6    think that or Legal Aid or ANHD or others that we

   7    should be doing in addition to extending an eviction

   8    moratorium, just as a flexibility.

   9        So, I see others raising their hand, I think

  10    Barika had her hand up to, so.

  11        BARIKA WILLIAM:     No, Council Member Powers and

  12    we’re happy to have those conversations and work with

  13    you on some of those ideas.       There’s been

  14    conversations around things like waiving security

  15    deposits and allowing tenants to use them around

  16    accessing the reserves.      Around letting tenants

  17    amortize their rent over the following year to break

  18    a current lease early without a penalty.         But some of

  19    what Mike is talking about but I think sort of our

  20    larger point and push and this is why it’s important

  21    for Council Member Cabrera’s earlier question.          It’s

  22    important for everybody to understand the scale and

  23    volume.

  24        So, if we were talking, there’s almost 3.5

  25    million rental units in just the city, assuming that
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          LICENSING                                       58
   2    they rent at just $1,000 a piece which is a low ball

   3    number.    So, you know, I’m rounding this down and

   4    assuming that people can’t pay for three months,

   5    that’s over a half, that’s a half a billion dollar

   6    price tag right there, right.

   7        So, I think it’s key for us to all sort of

   8    understand what volume we’re expecting and that’s

   9    with just five percent of people not being able to

  10    pay their rent for three months.

  11        COUNCIL MEMBER POWERS:      Thank you.    I’ll give my

  12    time back, thanks.

  13        AUSTEN BRANDFORD:     Thank you.    Next, we’ll hear

  14    from Council Member Koo who will be followed by

  15    Council Member Torres.      Council Member Koo?

  16        SERGEANT AT ARMS:     Council Member Koo, your clock

  17    will start now.

  18        COUNCIL MEMBER KOO:      Thank you.    Happy birthday

  19    Speaker and I want to thank everyone who come in to

  20    testify today.     And I support the spirit of the

  21    intent of Intro. 1912 and 1926 but I have a few

  22    questions for the first panel.       You mentioned people

  23    have no jobs and they have no money to pay for the

  24    rent.     But I thought we have this unemployment

  25    insurance.     Everyone has money coming from the state
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          LICENSING                                       59
   2    and on top of that the federal government is giving

   3    $600 per week to adults who collect unemployment.

   4        So, just a rough estimate, an average worker,

   5    even though they are not working, they collect

   6    unemployment, they will get like $3,000 a month.

   7        So, I mean, some of them might have other

   8    circumstances but I think many of them are able to

   9    pay their rent.     If they are not able to pay the

  10    rent, where did the money go?       If you have $3,000 a

  11    month, per month from the government and you buy food

  12    and you pay bills, and unemployment wages, everyone

  13    don’t pay rent.     All the landlords are going to go

  14    bankrupt.

  15        So, how do we help all these landlords,

  16    especially the small ones?      Many landlords have their

  17    own obligations.     They have to pay mortgage,

  18    utilities and property tax and don’t forget property

  19    tax is one third of the city revenues.         If the

  20    landlords don’t pay tax, the city will go bankrupt

  21    immediately.

  22        So, we all have to understand there are good

  23    intentions but then there are unintended

  24    consequences.     We don’t want those things to happen

  25    to adults.    They are paying property tax to the city
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          LICENSING                                       60
   2    and if they don’t pay tax the city will get broke in

   3    a minute.    So, can any one of you answer these

   4    questions?

   5        MICHAEL MCKEE:     I’ll take a stab at it Council

   6    Member.     First of all, just let me point out that

   7    most people who have filed for unemployment have yet

   8    to receive any benefits at all.       In fact, there was a

   9    study that was released yesterday Pew Search outfit

  10    that found that 29 percent of Americans; this was a

  11    national survey who filed unemployment claims in

  12    March have actually received unemployment benefits

  13    and that means 71 percent have not.        Plus $1,200 a

  14    month that the federal government has graciously

  15    granted to individuals, I mean, that’s a joke.

  16        So, I don’t really have any response to your

  17    larger questions about what are we going to do to

  18    keep the housing market from collapsing but

  19    obviously, this has to be a government solution and

  20    it’s going to involve money.

  21        COUNCIL MEMBER KOO:      I thought if they were

  22    approved, they can get unemployment retroactively.

  23        MICHAEL MCKEE:     Well, look, yeah but they don’t

  24    have it now.

  25
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         LICENSING                                       61
   2       COUNCIL MEMBER KOO: Well, they are soon to have

   3    a bunch of money coming.

   4        MICHAEL MCKEE:     I have a friend who have been

   5    trying to apply for unemployment for three weeks and

   6    she can’t get through.

   7        BARIKA WILLIAMS:     Mike, the other thing that I

   8    would add into this is that it’s very clear that

   9    there are huge parts of New York City’s population

  10    who are ineligible to even quality for unemployment,

  11    because of their documentation status, because they

  12    operated in a cash economy, because they were out of

  13    employment too long prior to this.

  14        So, there’s also a huge set of people who have

  15    been shut out, which is heavily our immigrant

  16    population and our Black and Brown populations which

  17    is the same set of populations that, and especially

  18    for our Asian population who have suffered from this

  19    crisis almost a full month before almost every body

  20    else in the city, right.

  21        So, I think there are some key things that we

  22    know and we’ve heard are huge gaps in even that one

  23    time stimulus check or the $600 bump consistently.

  24

  25
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         LICENSING                                       62
   2       I know there are some others; I think I saw

   3    Caryn.   There are some others who can speak to this

   4    later.

   5        COUNCIL MEMBER KOO:      Alright, thank you.

   6        AUSTEN BRANDFORD:     Next, we’ll hear from Council

   7    Member Torres followed by Council Member Lander.

   8    Again, a reminder to choose who you are directing

   9    your questions to so we can unmute them to.

  10        SERGEANT AT ARMS:     And your clock will start now.

  11        COUNCIL MEMBER TORRES:      Thank you.    I want to

  12    wish the Speaker a happy birthday.        I have a question

  13    about harassment, I’m curious to know from any of the

  14    advocates, what cases of COVID-19 harassment have you

  15    seen on the ground and do you think Intro. 1936 is

  16    sufficiently brought to capture those cases?          And I’d

  17    be curious to know what suggestive revisions you have

  18    the bill.

  19        CARYN SCHREIBER:     Mike, do you want to go ahead?

  20        MICHAEL MCKEE:     Caryn, I think maybe that’s a

  21    better question for you.

  22        CARYN SCHREIBER:     Sure, thank you for that

  23    question Council Member Torres.       So, in terms of what

  24    we would recommend, it’s just a suggestion that the

  25
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          LICENSING                                       63
   2    bill could include an additional definition of a

   3    person impacted by COVID-19.

   4        We proposed including a catch all provision for a

   5    person who may be impacted for the purposes of the

   6    legislation but doesn’t fall into one of the

   7    categories listed.

   8        In terms of what we are seeing on the ground, we

   9    are hearing about harassment based on a perception of

  10    lost income or following a renters attempts to

  11    discuss with the landlord that they have lost income

  12    and would like to set up some sort of payment plan

  13    and in a particularly insidious turn because of the

  14    eviction moratorium that’s currently in place, we

  15    believe that this harassment is going on to get

  16    tenants to in some way voluntarily involuntarily

  17    move.

  18        A way of a work around, around the current

  19    moratorium and we expect that this behavior will only

  20    escalate and get worse as the months go by and folks

  21    continue to be unable to pay some or all of the rent.

  22        COUNCIL MEMBER TORRES:      And I’ll just make one

  23    general comment here, where as a city we’re facing a

  24    humanitarian crisis, a nightmare that poses a

  25    systemic risk to working families, to small property
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          LICENSING                                       64
   2    owners, to even the city which disproportionately

   3    depends on property taxes.

   4        And as has been pointed out, you know, there is

   5    risk in freezing evictions without cancelling rent.

   6    And there is risk in cancelling rent without

   7    subsidizing it and as far as I can tell, there is no

   8    means of subsidizing without federal intervention and

   9    I’m pessimistic about the prospects for federal

  10    support.

  11        So, in the absence of federal support, what’s the

  12    exit strategy from this nightmare?        For me, there’s a

  13    real quandary about how to move forward.

  14        MICHAEL MCKEE:     I think your question is well

  15    taken and I don’t think any of us has an answer.             I

  16    mean, state and federal government have got to step

  17    up and it’s going to involve money and you know, as

  18    Barika pointed out, we have thousands and thousands

  19    of people who don’t qualify under any of these

  20    programs and they are going to be left out on the

  21    cold which is why we are calling for universal rent

  22    forgiveness or cancellation, not means tested.

  23    Because if you have a means test, his or hers and

  24    undocumented tenants, they are going to be excluded

  25    and that’s not right.
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         LICENSING                                       65
   2       COUNCIL MEMBER TORRES: And it’s worth pointing

   3    out that many working families have been slow to

   4    receive their stimulus checks because of under

   5    banking.   Not everyone has a bank account that allows

   6    for direct deposit.

   7        MICHAEL MCKEE:     Right.

   8        COUNCIL MEMBER TORRES:      There is just infinite

   9    ways in which COVID-19 has brought to light deeper

  10    inequalities in America but I thank you all for your

  11    testimony.

  12        AUSTEN BRANDFORD:     Okay.    Next, we will be

  13    hearing from Council Member Lander followed by

  14    Council Member Louis.

  15        SERGEANT AT ARMS:     Council Member Lander, your

  16    clock will start now.

  17        COUNCIL MEMBER LANDER:      Thank you very much to

  18    the Chairs and I’ll join in the birthday wishes to

  19    the Speaker.

  20        I’m going to follow up on both of Council Member

  21    Torres’s questions and I guess, first Ms. Williams,

  22    first of all, welcome to the Council of sorts and

  23    your role.

  24        You know, I think you said that you would provide

  25    a little data to the Council and I think after this
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          LICENSING                                       66
   2    dialogue about how many New Yorkers and especially

   3    what percent of tenants roughly will not be eligible

   4    for unemployment insurance and federal stimulus,

   5    would be really helpful here.       Because it is true

   6    that part of the idea of unemployment insurance is to

   7    enable people to have the resources that they need to

   8    pay their bill.     So, it’s taking too long, a lot of

   9    people won’t get what they need but as people start

  10    to get those and it is income replacement, you know

  11    that for people in something of a position to cover

  12    their expenses but as      you point out, there’s a very

  13    high percentage of New Yorkers who will not be

  14    receiving any relief because of the callus

  15    xenophobic.    We just shouldn’t let that sit as though

  16    that’s like reasonable.      What we have are a set of

  17    xenophobes running the senate and the White House and

  18    as a result, a whole set of hard working New York

  19    families who just as much as everyone of us on this

  20    call need a place to live and food to eat are going

  21    to have no relief.

  22        So, I think it would be helpful if you could just

  23    help us document what percent of New York tenants are

  24    being left out in the cold because that is a piece of

  25    why New York City and New York State have an extra
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          LICENSING                                       67
   2    responsibility to step up and do something here. So,

   3    is that something that you could help with?

   4        BARIKA WILLIAMS:     Yeah, absolutely.

   5        COUNCIL MEMBER TORRES:      And then I guess, I do

   6    want to just ask a little, I understand you know,

   7    Michael you’re right that we need federal

   8    intervention here but I do think it’s worth like

   9    going a little further on how we think about that

  10    because if what we’re saying is, some version of

  11    those of us that are lucky enough to still you know,

  12    have our income and you know, pay rent and pay

  13    mortgage but there’s a whole lot of people who can

  14    you know, pay rent and pay mortgage but there’s a

  15    whole lot of people who can’t and how that’s going to

  16    work its way through the system.

  17        It’s not that hard to imagine that the federal

  18    reserve or a set of banking institutions in

  19    partnership with the federal government could

  20    actually imagine some reasonable guidelines.          So,

  21    that you know, where tenants can’t pay and therefore

  22    were multifamily building owners with tenants who

  23    can’t pay their mortgage, they can expect to relate

  24    to their lending institutions in a way that says,

  25    yes, we’re like all in a shared crisis.         Here is some
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          LICENSING                                       68
   2    set of provisions for how to deal with it in ways

   3    that don’t put people on the streets and we haven’t

   4    heard anything about that at the national level.             I

   5    know that’s not your job or the job of today’s

   6    hearing but I wonder, Barika, this is something that

   7    you, you know, the housing market and its

   8    interconnectedness pretty well.       Like can you just do

   9    a little more thinking with us assuming we start the

  10    ball rolling with this legislation and we push it up

  11    to the state with the rent and mortgage moratorium

  12    legislation.

  13        What do we expect at the level above that to kind

  14    of hold our system together for the next year, not

  15    put people on the street but then still leave us the

  16    housing economy as we move forward beyond that?

  17        BARIKA WILLIAMS:     So, I mean, I think what this

  18    bill and this legislation seem like they are doing is

  19    creating sort of a bubble around the New York City

  20    housing stock, so that when we get to what in

  21    vernacular, we’re all calling the 91st day.         Which

  22    could be at 91 or could be at 120 or right whatever

  23    day that that is.

  24        So, when we get to that 91st day, how are we not

  25    in a place where to Caryn’s point, we don’t have you
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          LICENSING                                       69
   2    know, thousands of people run in and file evictions,

   3    right.   That creates an enormous strain right there.

   4    So, we want to prevent that but what we also need to

   5    ensure is that we’re not delaying that a year out, so

   6    that we’re looking at having that same exact

   7    circumstance, just maybe trickled out over a longer

   8    period of time or delayed a longer period of time.

   9    And I think that’s where it goes to okay then, what

  10    is the state going to be stepping —

  11        SERGEANT AT ARMS:     Time is expired.

  12        BARIKA WILLIAMS:     In to do in the interim and

  13    then what is the federal government going to be

  14    stepping in to do and those solutions might not be

  15    the same for everybody or they might not be the same

  16    depending on what point and time you’re in.         Whether

  17    it’s you know, one year out or it’s six months out or

  18    two years out.

  19        COUNCIL MEMBER TORRES:      Thank you very much and

  20    I’m pleased to sign onto both pieces of the

  21    legislation being heard today with thanks to their

  22    sponsors.

  23        AUSTEN BRANDFORD: Okay, next we’ll have Council

  24    Member Louis followed by Council Member Chin.

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         LICENSING                                       70
   2       SERGEANT AT ARM: Council Member Louis, your time

   3    will start now.

   4        COUNCIL MEMBER LOUIS:      Good afternoon everyone.

   5    I want to wish Speaker Johnson a very happy birthday

   6    and thank you Chair’s Cornegy and Cohen for hosting

   7    this hearing.    I’m getting a lot of emails from

   8    different small businesses in regards to this bill,

   9    so I am assuming this question could go to Caryn or

  10    anyone on the first panel.      But the question is, for

  11    big businesses like Kings Plaza, City Point, those

  12    locations are in Brooklyn.      If they were to commence

  13    an action for eviction before the New York enforced

  14    policy, are City Marshals still prohibited from

  15    evicting?    And if so, how does 1912 help or hurt

  16    small businesses?     Thank you.

  17        CARYN SCHREIBER:     Thank you Council Member.       Just

  18    so I can make sure I understand your question.          Will

  19    City Marshals be able to evict currently or if, or

  20    while the state moratorium is in effect or if the

  21    1912 moratorium was in effect or all three?

  22        Oh, Council Member, I think you are muted.

  23        COUNCIL MEMBER LOUIS:      Can you hear me now?

  24        CARYN SCHREIBER:     Yes, I can thank you.

  25
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         LICENSING                                       71
   2       COUNCIL MEMBER LOUIS: Perfect. Currently or

   3    during the New York on pause, were they able to evict

   4    after.   Will they still be able to evict if they

   5    already had come into action before hand and how does

   6    1912 help or hurt the small businesses in the bigger

   7    conglomerate?    I don’t know if you are familiar with

   8    Brooklyn or Kings Plaza more or City Point, if there

   9    was a smaller business within and they were about to

  10    get evicted, before New York on pause, how does this

  11    bill help or hurt them?      Thank you.

  12        CARYN SCHREIBER:     So, it’s my understanding that

  13    after the moratorium ends, any notices of eviction

  14    which are legally required before a Marshal can

  15    execute a warrant of eviction, must be reserved.

  16        So, if an eviction was scheduled for let’s say

  17    March 20 or maybe like March 21st, and that eviction

  18    did not happen, the warrant wasn’t executed.          The

  19    notice of eviction will need to be reserved again

  20    either when you know, when they are able to, when

  21    this current moratorium ends and/or when the Marshals

  22    begin serving notices of evictions again in order to

  23    execute them.

  24        And this I mean, having notice served again is

  25    extremely important whether for residential tenants
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          LICENSING                                       72
   2    at risk of eviction or commercial tenants at risk of

   3    eviction, so that the tenant is on notice and is

   4    aware that the eviction can be scheduled and is

   5    coming up.

   6        And in terms of how a moratorium would benefit

   7    small businesses that may have been at risk of

   8    eviction prior to it going into effect this will

   9    hopefully allow those small businesses along with

  10    other renters an opportunity to devise a plan,

  11    hopefully with the assistance of government funding

  12    to stave off that eviction.       And delaying that

  13    eviction will provide some opportunity for them to do

  14    that whereas right now, they don’t have a chance of

  15    preventing that eviction from going forward.

  16        COUNCIL MEMBER LOUIS:      Alright, thank you.

  17        CARYN SCHREIBER:     Thank you.

  18        AUSTEN BRANDFORD:     Now, I’ll turn to Council

  19    Member Chin who will be followed by Council Member

  20    Grodenchik.

  21        SERGEANT AT ARMS:     Council Member Chin, your

  22    clock will start now.

  23        COUNCIL MEMBER CHIN:      Thank you.    Thank you to

  24    the panel, thank you to the Chair and happy birthday

  25    to our Speaker.     What I wanted to raise is that in my
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          LICENSING                                       73
   2    district particularly, I do have a lot of small

   3    property owner that are legacy owners.         That are

   4    owned by you know, families for generation.         They all

   5    wanted to build things or family association based on

   6    last name or the part of China that the immigrated

   7    from.   And they are working with their tenant and

   8    trying to work with them.      They are not evicting them

   9    because they can’t pay rent but what they are asking

  10    the city for is, you know, help them out with the

  11    property tax issue.

  12        What about you know, deferring a portion of the

  13    property tax or delaying payment, so that they can

  14    also meet their needs?      And that’s something that

  15    they are asking the city.      At the same time,      you

  16    know, the water charge are going up.        You know,       a

  17    lot of people are home, they use more water and water

  18    bills are coming due.

  19        So, they are really asking for deferral of these

  20    payments you know, hopefully after the crisis is

  21    over.   So, that’s something that we have to look at

  22    what we can do as a city for some of these good

  23    property owners who are supporting their tenant.

  24        At the same time, we still have some really bad

  25    property owners who are using these times to raise
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          LICENSING                                       74
   2    rent. They are issuing new leases to residents and

   3    they are asking for a huge rent increase or that they

   4    are trying to evict them and not allow them to have

   5    secession rights, that they have to fight for it.            I

   6    mean those are the cases that we’re still getting and

   7    also some landlords not providing heat and hot water.

   8        So, I think what the bill in terms of the

   9    harassment, I wanted to ask Caryn from the Legal Aid

  10    Society, in terms of and maybe Mike.        Is there other

  11    tenant harassment issues?      Are they also coming into

  12    your office and to the hotline and how are we helping

  13    these tenants because right now, the courts are

  14    closed.    But they need to prepare to fight the

  15    harassment or fight the evictions.        Thank you.

  16        CARYN SCHREIBER:     I can start Mike if that’s okay

  17    with you.    So, in terms of certainly we are hearing

  18    from tenants about landlords not maintaining

  19    essential services like hot water or heat during the

  20    night or even during the day when it’s still cold.

  21    And the housing courts remain open for those types of

  22    emergency housing part proceedings related to

  23    repairs.    The housing courts are also open for

  24    illegal evictions or lockout cases because any

  25    eviction right now is an illegal eviction and
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          LICENSING                                       75
   2    unfortunately, those types of cases are still being

   3    filed.   People are being unlawfully locked out of

   4    their homes and certainly, we are also hearing about

   5    tenants who are being made to feel that they need to

   6    leave their homes because of the impact that COVID-19

   7    has had on them, either as people who are potentially

   8    exposed or are sick with COVID-19 or those who have

   9    lost income as a result of the pandemic and the

  10    shutdown.

  11        COUNCIL MEMBER CHIN:      Thank you.

  12        AUSTEN BRANDFORD:     We’ll now turn to Council

  13    Member Grodenchik who will be followed by Council

  14    Member Rosenthal.

  15        SERGEANT AT ARMS:     Council Member Grodenchik,

  16    your time is starting now.

  17        COUNCIL MEMBER GRODENCHIK:       Thank you very much.

  18    Thank you Chairs, happy birthday Speaker.         Ms.

  19    Williams, do we have an estimate or Mr. McKee or

  20    anybody, do we have an estimate on how many people

  21    you feel are going to be in danger of not being able

  22    to pay their rent on a long term basis in the City of

  23    New York?    How many units?    Are we talking 10,000

  24    units, are we talking 100,000?       Because that is

  25    really a big part of this issue here.        You know if
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          LICENSING                                       76
   2    it’s 100,000, it’s a big, big, big issue. If it’s

   3    10,000, much more manageable.

   4        I think Ms. Williams is talking but —

   5        BARIKA WILLIAMS:     There we go.     I think the best

   6    way that we’ve had to look at the numbers, so some

   7    people are looking at the numbers based on

   8    unemployment.    The other side and the other way that

   9    we’ve looked at these numbers is based on the loss of

  10    —

  11        COUNCIL MEMBER GRODENCHIK:       I don’t have much

  12    time; do you have an estimate?

  13        BARIKA WILLIAMS:     We think currently in the first

  14    month and a half, it’s about 30 percent loss of rent

  15    role for many of our members.

  16        COUNCIL MEMBER GRODENCHIK:       And how many people

  17    would that be with 30 percent of what?

  18        BARIKA WILLIAMS:     If we were looking across the

  19    entire city’s rental population, that would be one

  20    million.

  21        COUNCIL MEMBER GRODENCHIK:       How many units are

  22    there of rental housing in this city?

  23        BARIKA WILLIAMS:     About 3.5 million.

  24        COUNCIL MEMBER GRODENCHIK:       Okay, so that is

  25    almost —
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         LICENSING                                       77
   2       MICHAEL MCKEE: Roughly 2 million rental units.

   3        BARIKA WILLIAMS:     Oh, sorry, yeah, 2 million

   4    rental, 1.5 homeowner.

   5        COUNCIL MEMBER GRODENCHIK:       Okay, well, I do

   6    think you know, I was involved in the early 90’s

   7    because I’m old in the co-op and condo crisis when

   8    you were able to take a building that had 15 percent

   9    you know join and then you know, people were in

  10    danger of losing everything.       We were able to put

  11    together in the Queens Borough Presidents Office

  12    under the great leadership of Claire Shulman, we were

  13    able to save the units of 20,000 homeowners in Queens

  14    and it also helped of course the renters as well

  15    because they weren’t dispossessed either.         And I

  16    really think Brad Lander hit at it, but I think that

  17    we are going to need a holistic solution where the

  18    banks who made these loans are willing to step

  19    forward and everybody, I think is going to have to

  20    eat something here.

  21        I’m not sure that a blanket noneviction procedure

  22    will be the answer but I think we definitely need to

  23    have an answer to this and I want to thank the Chairs

  24    for leading this discussion today on these important

  25    pieces of legislation.      But I really think that we
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          LICENSING                                       78
   2    are going to need really everybody kicking in and I

   3    think my colleague Margaret Chin was also quite

   4    correct in saying that property taxes are something

   5    we’re going to have to look at.        They are out of

   6    control in the City of New York.        We could put liens

   7    on property taxes, put a lien on an apartment

   8    building until it’s sold, so the city wouldn’t be

   9    losing out.    But I think really from where I’m

  10    looking at here, this is going to take a very, very

  11    large solution.

  12        And I thank you, I thank the panel for being here

  13    today and helping me to clear my head so to speak and

  14    start to think about this issue a little more

  15    clearly.

  16        With that I waive the balance of my time.          Thank

  17    you very much.

  18        AUSTEN BRANDFORD:     Thank you.    Next, we’ll turn

  19    to Council Member Rosenthal and follow back to our

  20    Chair’s and Speaker Johnson for any final questions.

  21        SERGEANT AT ARMS:     Council Member Rosenthal,

  22    your time will start now.

  23        COUNCIL MEMBER ROSENTHAL:       Thank you very much.

  24    Thank you all for your testimony.        I would like to

  25    also try to get to some numbers and think about for
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          LICENSING                                       79
   2    the purpose of helping the city bring this to the

   3    attention of the federal government because I really

   4    do think at the end of the day, the city is not going

   5    to be able to bail out you know, renters or small

   6    property owners.     And of course, we all want to

   7    prevent some sort of venture capitalist from coming

   8    in and swooping everything up and making it ten times

   9    worse.

  10        And I’m listening to each of you go back and

  11    forth on the numbers and just having a hard time

  12    trying to fine tune it.      You know, if you say we have

  13    2 million renters, how many people in New York City

  14    are on unemployment, a half a million now?         Not quite

  15    sure.    And then add on that, everyone who can’t even

  16    get unemployment insurance.       Can we start to quantify

  17    the magnitude of it that way?

  18        BARIKA WILLIAMS:     So, I would say, I think one of

  19    the, I’m hearing a lot about the numbers.         I think

  20    one of the challenges here is that these are moving

  21    numbers.   We’re pulling things from different

  22    resources.    They are not disaggregated and we can’t

  23    line them up.

  24        So, we’ve got a set of population primarily

  25    focused in our Asian communities that were impacted,
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          LICENSING                                       80
   2    had a rent loss, really largely before any of this

   3    tracking started.     So, put them on a months impact

   4    ahead of everybody else.      Then we start from

   5    tracking, if we use unemployment, we’re skipping some

   6    of the other populations highlighted before, right.

   7    If we’re looking strictly at the loss of rent roles,

   8    that doesn’t necessarily speak to people who have

   9    lost well, sorry, unemployment also doesn’t speak to

  10    the fact that people might be taking unemployment but

  11    still trying to pay their rent or still paying a

  12    portion of their rent, right.

  13        So, that doesn’t necessarily fully line up with

  14    the ability to pay or not pay your rent although we

  15    expect and fully anticipate that that’s a core part

  16    of the population that isn’t able to pay.         And then,

  17    we’ve got another set of the population that isn’t

  18    tied to unemployment at all, it’s sort of separate

  19    from this.    Maybe is still employed, has had huge

  20    reductions in their incomes, they are working part

  21    time and they are also struggling to pay rent.          They

  22    might be paying half, they might be paying a quarter,

  23    they might be paying zero.      And so, all of those

  24    numbers, right and then each two weeks, we probably

  25    scale that number up proportionally because there is
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          LICENSING                                       81
   2    more and more people impacted. So, that’s one of the

   3    struggles right now for anybody being able to track

   4    this.

   5        COUNCIL MEMBER ROSENTHAL:       And I would add to

   6    that, how do we expect people to ever be able to make

   7    up the rent?    It’s not going to happen.

   8        BARIKA WILLIAMS:     Right.

   9        MICHAEL MCKEE:     A lot of these jobs, they are

  10    gone.   They are not coming back plus there are people

  11    leaving the city because of lost of income, loss of

  12    employment and how you calculate this, I mean, good

  13    luck with it but as Barika points out, it’s a moving

  14    target.    It’s going to be big; it’s going to big;

  15    it’s going to be a lot.

  16        COUNCIL MEMBER ROSENTHAL:       Yeah, I agree with you

  17    on that.   I just think you know we got low —

  18        SERGEANT AT ARMS:     Time expired.

  19        COUNCIL MEMBER ROSENTHAL:       Okay, thank you for

  20    keeping me on the clock, but thank you to the

  21    panelists for all your hard work, everything you are

  22    doing to keep our tenants safe.       There is no question

  23    the federal government is going to have to come in

  24    and there is no question but that banks are going to

  25    have to step up.     That’s who was bailed out last time
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          LICENSING                                       82
   2    around and this time they need to bail out everyone

   3    else.

   4        Thank you.

   5        AUSTEN BRANDFORD:     Thank you.    Just circling back

   6    to Speaker Johnson for any final questions and moving

   7    on to Administration testimony.

   8        SPEAKER JOHNSON:     Thank you Austen.      I just want

   9    to quickly go back and ask, is the new economy

  10    project on?

  11        MICHAEL MCKEE:     Yes.

  12        SPEAKER JOHNSON:     Okay, I wanted to ask you guys,

  13    you guys have been fighting for a broad set of

  14    emergency measures to protect New Yorkers health,

  15    safety and financial security including advocating

  16    for a moratorium on debt collections in New York

  17    State.   Can you talk about the short and long term

  18    harmful impacts of money judgements and other debt

  19    collection measures on New York City’s low income

  20    communities and communities of color?

  21        ANDY MORRISON:     Absolutely, so, already debt

  22    collection, predatory debt collection is a scourge in

  23    low income communities and communities of color and

  24    what we’ve seen over the years particularly through

  25    our financial justice hotline is debt collectors
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       83
   2    using and abusing our courts to get judgements

   3    against New Yorkers violating their due process using

   4    all kinds of shady tactics to get judgment and then

   5    enforce those judgements against New Yorkers to

   6    siphon massive amounts of wealth from communities.

   7        So, it’s an issue that exacerbates and

   8    perpetuates racial and economic inequality in our

   9    city and again, to underscore, these are the same

  10    communities that have been particularly harmed by

  11    COVID-19 and are subject to all kinds of racial and

  12    economic inequities.

  13        And so, in the short term, the moratorium is

  14    needed as our other immediate remedies to some of the

  15    issues that we’ve seen New Yorkers facing.         In the

  16    long term, what we’re hearing from a lot of our

  17    community partners and organizations that we’ve

  18    worked with is that, while we need to really stretch

  19    the bounds of the city’s authority and our creativity

  20    to address the immediate issues people are facing and

  21    while we need to pressure the state and the federal

  22    government to do more, we also need to be thinking

  23    about building alternative institutions.         And New

  24    York City is fortunate in one way that it has laid a

  25    lot of critical groundwork for worker cooperatives,
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          LICENSING                                       84
   2    community land trusts. There’s an exciting movement

   3    for a public bank, which would over the long term

   4    address a lot of the issues that have been surfacing

   5    throughout this hearing from the banks not serving

   6    communities equitably, to landlords harassing and

   7    exploiting their tenants and the list goes on and on.

   8        And so, there’s a lot of excitement and

   9    enthusiasm for building new institutions and economic

  10    models that would create and build resiliency and

  11    build institutions that are rooted economic and

  12    racial justice and equity.      And so, we really

  13    strongly encourage the Council to be thinking about

  14    that as we move into this economic recovery phase.

  15    To be thinking about the types of initiatives the

  16    city can adopt to really recreate an economy that

  17    works for everybody.

  18        SPEAKER JOHNSON:     Thank you Andy and do we have

  19    someone from the Community Service Society CSS on?

  20    No, no one from CSS or do they need to be unmuted?

  21        BARIKA WILLIAMS:     I think Sergeant it’s Oksana.

  22        MICHAEL MCKEE:     Oksana is here, online.

  23        BARIKA WILLIAMS:     Yeah, she’s here.

  24        SPEAKER JOHNSON:     Okay, hold on a second.

  25    Oksana.
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         LICENSING                                       85
   2       OKSANA MIRONOVA: Thank you. Thanks, Barika.

   3        SPEAKER JOHNSON:     Hi Oksana, so, first before I

   4    ask my question, I just want to really extend my

   5    condolences to you and to the entire CCS family in

   6    New York City lost a legend and you lost a colleague

   7    in Tom Waters who such a giant in the housing

   8    community and fighting against poverty in New York

   9    City for decades and we know that COVID-19 took his

  10    life and we’re sending our condolences to you all at

  11    CSS and the Broader Tenant Movement is mourning Tom’s

  12    loss as well.    We really appreciate CSS’s continued

  13    dedication to fighting for the most vulnerable during

  14    this time where your mourning Tom’s loss, so thank

  15    you for being here.

  16        You all done a lot of work to show that many New

  17    Yorkers were in crisis even before COVID.         That 30

  18    percent of New Yorkers were falling behind on rent

  19    before the virus hit.      I wanted to ask, what percent

  20    of New Yorkers do you think are falling behind rent

  21    right now as a result of this crisis and what are the

  22    risks that those tenants are going to face and what

  23    risk does the city face if we don’t step up to

  24    protect them now?

  25
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         LICENSING                                       86
   2       OKSANA MIRONOVA: Absolutely. Thank you and

   3    thank you so much and thank you for listening to our

   4    testimony and yeah, I really appreciate the statement

   5    about Tom, it’s difficult to believe that he’s gone.

   6        So, we know that from the data that was available

   7    from the CUNY public health research; they’ve been

   8    doing a survey every single week about the number of

   9    people who are effected by COVID-19.        And from our

  10    own research about the number of people who have less

  11    than $1,000 in savings which is 70 percent of low

  12    income people have less than $1,000 in savings.

  13        At the end of March, there was probably about

  14    126,000 people who were I don’t want to say were

  15    likely to fall behind on rent but who lost most of

  16    their income and also didn’t have enough money in the

  17    bank to make a months’ worth of rent.

  18        So, that’s 126,000 renters, specifically in the

  19    private market, so that’s excluding everyone who gets

  20    Section 8.    Excluding everyone who lives in public

  21    housing because we’re making the assumption with the

  22    Cares Act that their rent is going to be covered at

  23    least for the next couple of months.

  24        There is no guarantees beyond that but for the

  25    foreseeable future.     So, that’s 126,000 people in
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          LICENSING                                       87
   2    late March. We don’t have figures for April, we

   3    don’t know what’s going to happen in May but the

   4    harsher social distancing rules went into effect I

   5    think on March 16th.     So, and lots of people lost

   6    jobs after that, so that number is much larger by

   7    now.

   8        SPEAKER JOHNSON:     Thank you.    Thanks, Oxsana.       I

   9    just want to, yeah Barika, go ahead you are unmuted.

  10        BARIKA WILLIAMS:     I just, since we’ve gotten a

  11    lot of questions about specific data, I think Oxsana

  12    can probably chime in on this and tell me if she

  13    disagrees, but I think one thing you all could do and

  14    especially you Speaker, could maybe help us with one

  15    thing we know would aid a lot of our analysis is

  16    being able to get the unemployment data disaggregated

  17    at something other than the citywide or county level.

  18        So, when we just get that big number, it’s really

  19    hard to do anything with.      That translates into very

  20    different rents, very different numbers of people in

  21    different places.     One thing that we’ve been trying

  22    to figure out with New York State DOL, I’m not sure

  23    where they are but if we could get that number at

  24    some sort of smaller geography and with more

  25    frequency, I think that would be hugely helpful.
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         LICENSING                                       88
   2       SPEAKER JOHNSON: Thank you. I appreciate you

   3    all testifying today under these trying

   4    circumstances.    I want to thank all the Council

   5    Members who I have been listening to all their

   6    questions, very thoughtful questions, I appreciate

   7    it.    And I just want to say you know, the Council is

   8    doing the best that we can.       We are trying here to

   9    give some level of protection to renters, to tenants,

  10    to New Yorkers who we know are vulnerable and

  11    suffering but again, I think it’s just important for

  12    the public to understand and realize that with one of

  13    the worst economic situations the city has ever been

  14    in, with a $2.5 billion budget shortfall in the

  15    current fiscal year that we’re in, not even talking

  16    about next fiscal year which begins on July 1st.             We

  17    estimate that that number is upwards of another $5

  18    billion, so we’re somewhere near $8 billion in the

  19    hole and that number could grow.        The city doesn’t

  20    have the resources and money to be doing many of the

  21    things that we all know is the right thing to do,

  22    which is why we need federal help and federal

  23    intervention to help us here.

  24          There was a bill I know that was put forward by

  25    some Assembly Members and Senators calling for a $10
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          LICENSING                                       89
   2    billion program from the federal government to

   3    actually compensate landlords for tenants who can’t

   4    pay their rent.     So, landlords could still pay their

   5    property taxes and real estate taxes which then

   6    wouldn’t undermine the city’s budget.

   7        We know there is another bill that would cancel

   8    rent but by Senator Gianaris but we want to do

   9    anything we can but ultimately when you’ve seen these

  10    really outrageous statements by the Senate Majority

  11    Leader Mitch McConnell, saying that states and local

  12    governments should just declare bankruptcy, the human

  13    impact, the toll that that would have on New York

  14    City is beyond comprehension.       And so, his comments

  15    softened just a little bit yesterday but we know how

  16    he really feels.     We really need in this next

  17    stimulus bill a significant amount of money for New

  18    York City to protect the social safety net.

  19        Our north star in this process is to protect

  20    people that are vulnerable.       To protect New Yorkers

  21    that were struggling and vulnerable before this

  22    crisis hit to protect children and seniors and

  23    tenants in low income communities and communities of

  24    color and immigrant communities, people that we knew

  25
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          LICENSING                                       90
   2    were struggling before COVID-19 slammed into our

   3    city.

   4        So, throughout this budget process and through

   5    our advocacy to both the state and our federal

   6    representatives, we are going to continue to push for

   7    money and programs that will help New Yorkers that

   8    need it most right now.

   9        I really appreciate all of you and your

  10    organizations joining us today for this important

  11    call.   It’s a nice way to spend my 38th birthday on

  12    this Zoom conference and I just wanted to thank you

  13    all for being here today and I’m happy to either turn

  14    it back to Chair Cohen or Chair Cornegy or to the

  15    Committee Counsel so that we can hear from our next

  16    witness.

  17        AUSTEN BRANDFORD:     I can now call on members of

  18    the Administration to testify.

  19        So, today we will be hearing testimony from Dana

  20    Sussman of the Commission on Human Rights and Sheriff

  21    Joseph Fucito of the Department of Finance.         AnnMarie

  22    Santiago Department Housing Preservation and

  23    Development will also be available for questions.

  24

  25
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         LICENSING                                       91
   2       Can the three of you please raise your right

   3    hands.   We will administer the oaths once; we will

   4    unmute you to affirm individually at the end.

   5        Do you affirm to tell the truth, the whole truth

   6    and nothing but the truth before this Committee and

   7    to respond honestly to Council Member questions?

   8        PANEL:   Yes.

   9        AUSTEN BRANDFORD:     Dana Sussman?

  10        DANA SUSSMAN:     Yes.

  11        AUSTEN BRANDFORD:     Sheriff Fucito?     Sheriff?

  12        JOSEPH FUCITO:     Yes.

  13        AUSTEN BRANDFORD:     Great.     AnnMarie Santiago?

  14    AnnMarie?

  15        ANNMARIE SANTIAGO:       Yes.

  16        AUSTEN BRANDFORD:     Great, wonderful.      You may

  17    begin when you are ready.

  18        DANA SUSSMAN:     Alright, I think I am starting.

  19    Good afternoon Speaker Johnson, Committee Chairs

  20    Cornegy and Cohen and the members of the Committees.

  21    I am Dana Sussman, Deputy Commissioner for Policy

  22    Intergovernmental Affairs at the New York City

  23    Commission on Human Rights.         Thank you for convening

  24    today’s hearing to address the critical needs of New

  25    Yorkers during the COVID-19 pandemic.         We know that
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   2    many of us are now struggling and may be mourning a

   3    loss of friends and family and co-workers and I want

   4    to take a moment to acknowledge that during this

   5    incredibly difficult time.

   6        As you likely know, the Commission is the local

   7    law enforcement agency of Civil Rights Law

   8    Enforcement Agency that enforces the New York City

   9    Human Rights Law, one of the broadest and most

  10    protective anti-discrimination and anti-harassment

  11    laws in the country, now totaling 26 protected

  12    categories across nearly all aspects of city living:

  13    housing, employment and public accommodations, in

  14    addition to discriminatory harassment and bias-based

  15    profiling by law enforcement.       By statute, the

  16    Commission has two main functions.        First, the

  17    Commission’s Law Enforcement Bureau enforces the City

  18    Human Rights Law by investigating complaints of

  19    discrimination from the public, initiating its own

  20    investigations on behalf of the City, and utilizing

  21    its in house testing program to help identify

  22    entities breaking the law.

  23        Second, the Community Relations Bureau, which is

  24    comprised of Community Service Centers in each of the

  25    City’s five boroughs, provides free workshops on
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   2    individuals right and businesses, employers and

   3    housing providers obligations under the City Human

   4    Rights Law and creates engaging programming on human

   5    rights and civil rights issues.

   6        Before turning to Intro. 1936, I’d like to

   7    highlight some of the important work that the

   8    Commission is doing to address discrimination and

   9    harassment that we have seen emerging in the midst of

  10    the current public health crisis posed by COVID-19.

  11    In the context of the COVID-19 pandemic, we have seen

  12    a multitude of ways in which the City Human Rights

  13    Law intersects with the rapidly changing needs of New

  14    Yorkers in crisis.     Starting in January, the

  15    Commission began to monitor and increase in anti-

  16    Asian discrimination and harassment, including

  17    scapegoating, fearmongering, and the spread of

  18    misinformation, as news about COVID-19 started to

  19    emerge.

  20        In February, the Commission started to receive

  21    its first reports of New York City-based incidents of

  22    discrimination and harassment targeting Asian New

  23    Yorkers.   At the same time, the Commission’s East

  24    Asian Communities Liaison Flora Ferng and other

  25    members of the community outreach team were working
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   2    regularly with community leaders of Asian and Pacific

   3    Islander or API communities throughout New York City

   4    to provide information and resources about the

   5    Commission’s work.

   6        From February through mid-April, the agency

   7    recorded 284 reports of harassment and discrimination

   8    related to COVID-19, over 40 percent of which or 115

   9    identify incidents of anti-Asian harassment or

  10    discrimination.     And I’d just like to note that we

  11    released numbers last week.       The numbers I’m

  12    reporting out today are updated as of earlier this

  13    week, so the numbers are slightly higher.

  14        By comparison, during this same time period in

  15    2019, the Commission had received just five reports

  16    of anti-Asian discrimination.       This influx in reports

  17    and cases resulted in the Commission’s April

  18    announcement of the formation of a COVID-19 Response

  19    Team to handle reports of harassment and

  20    discrimination related to the outbreak.         The Response

  21    Team is comprised of staff from the Law Enforcement

  22    Bureau and the Community Relations Bureau working in

  23    coordination to quickly and efficiently track and

  24    respond to the sharp increases in reports of

  25    harassment and discrimination connected to the
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   2    pandemic. The COVID-19 Response Team has now taken

   3    action in 176 of those reports, including, for

   4    example, conducting early or emergency intervention,

   5    providing know your rights information about how to

   6    request a reasonable accommodation, referring the

   7    individual to another service or agency, or

   8    commencing an investigation.

   9        In addition, the Commission has opened active

  10    investigations into 26 matters spanning

  11    discrimination in housing, public accommodations, and

  12    employment on the basis of race, national origin,

  13    disability, and lawful source of income.

  14    Additionally, the Response Team has now successfully

  15    resolved and closed ten matters of COVID-19 related

  16    harassment and discrimination so far.

  17        The Commission’s Community Relations Bureau or

  18    CRB has also held bystander intervention trainings

  19    with the Center for Anti-Violence Education, which

  20    provide techniques to safety de-escalate a bias

  21    incident in real time and just earlier this week or

  22    late last week, were recently piloted in Mandarin.

  23        In early March, CRB co-sponsored community forums

  24    in Sunset Park Brooklyn and Manhattan’s Chinatown

  25    educating Asian communities of their rights and
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   2    protections under the law. The Commission has held

   3    virtual town halls, in partnership with sister

   4    agencies, elected officials and community based

   5    organizations highlighting workplace rights related

   6    to COVID-19, reporting discrimination and harassment

   7    related to COVID-19 and responding to hate and bias

   8    with restorative justice measures among other topics.

   9        The Commission continues to produce and promote

  10    content to provide key information to impacted

  11    communities on their rights in several language

  12    including many of those spoken by Asian New Yorkers

  13    facing heightened harassment and discrimination

  14    including Cantonese, Fujianese, Korean, Mandarin and

  15    Tagalog with additional language forthcoming.          The

  16    Commission staff currently speak over 30 languages.

  17        Shortly after the outbreak began, the Commission

  18    launched an online resource page outlining New

  19    yorker’s rights and protections around COVID-19

  20    related harassment and discrimination in housing,

  21    employment and public accommodations which is

  22    regularly updated.     The page is available at

  23    nyc.gov/stopcovidhate.      The commission also currently

  24    has a paid campaign running on social media platforms

  25
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   2    directing people to our resources on their rights as

   3    they relate to COVID-19.

   4        Turning now to Intro. 1936, most cases of housing

   5    discrimination against a person with suspected or

   6    confirmed COVID-19, or against a person carrying for

   7    someone with a suspected or confirmed case, are

   8    protected under the City Human Rights Law’s broad

   9    protections based on actual or perceived disability

  10    or a person’s association with someone with a

  11    disability.

  12        In addition, essential workers who may face

  13    housing discrimination because they are at risk of

  14    exposure to COVID-19 are protected by the City Human

  15    Rights Law’s protections based on lawful occupation.

  16        The Commission’s Law Enforcement Bureau has

  17    directly received 228 COVID-19 related inquiries, 44

  18    of which are in the housing context.        The Commission

  19    has provided tenants and co-op residents with

  20    information regarding the City Human Rights Law and

  21    in some cases, contacted management companies or co-

  22    op boards to advise them of their responsibilities

  23    under the law.    For example, where restrictions on

  24    residents to reduce the spread of COVID-19 did not

  25    allow for accommodations for residents with
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   2    disabilities. For example, in situations in which

   3    buildings are not permitting or facilitating

   4    deliveries to the door of individuals with

   5    disabilities unable to exit their apartment due to

   6    their limitations or immunocompromise conditions,

   7    COVID-19 self-quarantine, or because they are unable

   8    to lift or otherwise carry packages due to a

   9    disability.    The Commission’s Law Enforcement Bureau

  10    is able to intervene and provide inquirers with

  11    information about their rights to request a

  12    reasonable accommodation.

  13        While Intro. 1936 does not amend the City Human

  14    Rights Law, it does amend or seek to amend the

  15    Housing Maintenance code’s language on protected

  16    categories with respect to tenant harassment which

  17    was modeled after language in the City Human Rights

  18    Law to protect against harassment based on a person’s

  19    protected status.

  20        That 2017 addition of those protected categories

  21    with respect to tenant harassment and housing code,

  22    allows tenants to choose whether to file a

  23    discrimination claim with the Commission or can take

  24    a case to housing court.      Because of the substantial

  25    overlap between existing protections in the City
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   2    Human Rights Law and the Housing Maintenance Code,

   3    several of the protections contemplated in 1936

   4    already exist to protect tenants against harassment

   5    in housing.

   6         As I said before, this is true for cases of both

   7    confirmed or suspected COVID-19, or when an

   8    individual has a relationship or association with

   9    someone with an actual or suspected case of COVID-19,

  10    including for example, family members who reside in

  11    the unit.

  12         It is important to note that if a tenant chooses

  13    to prevent claim under this provision in housing

  14    court, they typically will be precluded from bringing

  15    the same claim at the Commission.        Currently,

  16    remedies in housing court are usually limited to

  17    civil penalties ranging from $1,000 to $10,000

  18    compared to remedies at the Commission, which include

  19    uncapped compensatory damages to the victim, civil

  20    penalties of up to $250,000 and other affirmative

  21    relief.     Because the remedies in housing court are

  22    more limited than at the Commission, it is vital that

  23    tenants understand the options available to them and

  24    are able to make an informed decision regarding the

  25    venue they choose.      To the extent that New Yorkers
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   2    experience discrimination or harassment with respect

   3    to any of the protected categories articulated in the

   4    City Human Rights Law, we always encourage them to

   5    contact the Commission.

   6         The Commission recognizes that people who have

   7    COVID-19 are at risk of contracting the virus and/or

   8    are essential workers must be able to live safely and

   9    securely and should never, under any circumstance,

  10    have to contend with discrimination harassment.           We

  11    are committed to working with the Council to ensure

  12    that he devastating impacts of this public health

  13    crisis are not unnecessarily compounded and that new

  14    Yorkers can live peacefully in their homes, free from

  15    harassment.    We are acutely aware of the

  16    vulnerabilities of New Yorkers right now and the

  17    Commission is ever more committed to defending the

  18    human rights of all New Yorkers, especially those

  19    impacted by COVID-19.

  20         Thank you for convening today’s hearing and I

  21    look forward to your questions.

  22         AUSTEN BRANDFORD:     Thank you.    A quick reminder

  23    that if you mute yourself, you cannot unmute

  24    yourself.

  25         Sheriff Joseph Fucito?
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          LICENSING                                       101
   2        JOSEPH FUCITO: Good afternoon members of the

   3    Committee on Consumer Affairs and Business Licensing

   4    and Committee on Housing and Buildings.         I am Sheriff

   5    Joe Fucito and I am here today to discuss proposed

   6    Intro. 1912.

   7         Before I do, I want to take the time to thank the

   8    City Council for its efforts to tackle the many

   9    hardships facing New Yorkers during the COVID-19

  10    pandemic and beyond.      We have all been touched by

  11    this crisis, my office included, with the loss of

  12    loved ones.    Sheriff’s Public Safety Officer Serge

  13    Paul passed away last week after a brave struggle

  14    against COVID-19.     He was a dedicated law enforcement

  15    officer, husband, and father and I would be remiss if

  16    I did not publicly acknowledge his dedicated service

  17    and sacrifice.

  18         The Sheriff’s Office fully appreciates what we

  19    believe is the Council’s intention to provide relief

  20    to New Yorkers from debilitating seizures of property

  21    and monetary assets.      However, Intro. 1912, while

  22    well intended, raises significant legal concerns for

  23    my office.    The work of our Office is integrally

  24    related to the work of the judicial system and

  25    governed by State Law.
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          LICENSING                                       102
   2        May I take a moment to provide a quick

   3    explanation about judgement enforcement matters.              A

   4    judgement is the final outcome of a court case.           A

   5    judgment resolves the contested issues and terminates

   6    a lawsuit, since it is regarded as the court’s

   7    official pronouncement of the law on the action that

   8    was pending before it.      The judgment states who has

   9    won the case and what remedies are awarded to that

  10    prevailing party.     Remedies may include monetary

  11    damages, injunctive relief,

  12         or both.

  13         Judgements are enforced by writs of execution,

  14    which can be addressed to the Sheriff or in New York

  15    City to the Marshal, commanding them to give the

  16    plaintiff possession of land; or to enforce the

  17    delivery of personal property which was the subject

  18    of an action, or to collect the amount of the

  19    judgment, depending on the relief sought in the

  20    underlying case.

  21         As I’ve described, judgment and execution

  22    enforcement are mandates that come from the court.

  23    They are under the governance of the State court

  24    system and implemented through the State Civil

  25    Practice Law and Rules.      Indeed, they represent the
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   2    core function of the judiciary branch and the

   3    ultimate expression of its independent decision

   4    making authority.     We believe that Intro. 1912 would

   5    require actions that interfere with this well

   6    established structure.

   7         The bill assigns duties to the Sheriff that

   8    presupposes the Sheriff has control over the judgment

   9    and execution process.      However, that is not the

  10    case.   The Sheriff is an officer of the court and

  11    wholly guided by the exacting statutory steps set

  12    forth in the CPLR which preclude the Sheriff’s

  13    personal judgment or outside review.

  14         Courts have repeatedly held that a Sheriff cannot

  15    look behind the court mandates or review them for

  16    error and can be penalized for doing so.         For these

  17    reasons, it is our view that the Sheriff could not

  18    comply with the directives of Intro. 1912 without

  19    violating the panoply of State laws that govern the

  20    Sheriff’s role as the civil enforcement official of

  21    the courts.

  22         In my role as Sheriff, I am not a heartless bill

  23    collector, but rather an officer of the court who has

  24    the duty to enforce the laws enacted for the

  25    protection of the lives, persons, property, and
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          LICENSING                                       104
   2    health of our citizens. I hope that my testimony

   3    today has conveyed my passion for following the law

   4    and having the Office of the Sheriff working

   5    productively and cooperatively for the betterment of

   6    all New Yorkers.

   7         Thank you for your time and I will now take any

   8    questions.

   9         AUSTEN BRANDFORD:     Thank you.    We will now open

  10    it up for questions from Speaker Johnson and the

  11    Chair’s.

  12         SPEAKER JOHNSON:     Thank you very much.      I really

  13    appreciate your patience.       I know you guys waited for

  14    a while to testify.      So, Sheriff, I want to thank you

  15    for your patience and I want to give you our

  16    condolences on the loss of someone in your office,

  17    I’m really sorry.     As you said, this is touching all

  18    of our lives and we want to remember all of the folks

  19    that have been serving New York City, especially the

  20    city workers.     So, thank you for acknowledging this

  21    wonderful person who served the City of New York.

  22         I wanted to ask you Sheriff; do you have any

  23    policies that guide how you decide to prioritize your

  24    enforcement actions?      Are you trying to avoid

  25    targeting low income New Yorkers right now?
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          LICENSING                                       105
   2        JOSEPH FUCITO: Part of our protocols during this

   3    COVID-19 emergency is we’re looking at emergency type

   4    orders and orders that affect public safety.

   5         So, right now, orders of protection are still

   6    being enforced, mental hygiene warrants are still

   7    being enforced.     Things that involve public safety,

   8    we are enforcing.

   9         Things that require the types of court process

  10    that require the seizure of money and property, we’re

  11    looking at very carefully.       There are certain

  12    protections in place that are only available when the

  13    court system is open and fully functioning.          So,

  14    those are items that we take a careful look at

  15    because whenever we seize money or property, those

  16    remedies should be available to the person.          They

  17    should be able to be able to go to court and look to

  18    have protection granted by the court.

  19         So, right now we’re not conducting any property

  20    seizures but that’s simply because the court system

  21    is not fully open and those remedies are not

  22    available to them except for very limited

  23    circumstances.     So, the types of orders we are

  24    carrying out you would be considering emergency type

  25    orders.
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          LICENSING                                       106
   2        SPEAKER JOHNSON: Sorry about that. Is it safe

   3    to say Sheriff and so, I assume it is because of the

   4    answer to the question you just gave.         Is it safe to

   5    say that you are enforcing judgments during this

   6    crisis?

   7         JOSEPH FUCITO:    Yes.

   8         SPEAKER JOHNSON:     And what if you go and the

   9    person says they have COVID-19?

  10         JOSEPH FUCITO:    Well, the idea of enforcement

  11    doesn’t necessarily work that way.        If we have to

  12    serve an order of protection on somebody and they

  13    have COVID-19, the Deputy Sheriff has to serve that

  14    person.    So, our officers have to wear protective

  15    gear.   We try to have as limited contact as possible

  16    the person within the confines of the order.

  17         So, whatever the order tells us to do, we still

  18    have to carry out even though COVID-19 is going on

  19    but we can take obvious safety precautions for our

  20    officers.

  21         SPEAKER JOHNSON:     Thank you and if the state

  22    moratorium lapses, are you going to rely on the

  23    courts to determine whether someone is protected by

  24    the federal moratorium?

  25
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          LICENSING                                       107
   2        JOSEPH FUCITO: We have to. Unfortunately, in my

   3    role as Sheriff, while I have personal opinion and

   4    like said, my personal feeling is I think that these

   5    concepts are very good to explore.         In my role as

   6    Sheriff, I have to be somewhat agnostic and stand

   7    offish, neutral.     I can’t really weigh in on these

   8    positions and I have to rely on the court to be the

   9    best guide for what the Sheriff is supposed to do.

  10         SPEAKER JOHNSON:     Thank you Sheriff and thank you

  11    to the members of the Administration.         I turn it back

  12    to the Committee Counsel.

  13         AUSTEN BRANDFORD:     Thank you Speaker.     Any

  14    questions from the Chair’s?

  15         CO-CHAIR COHEN:     Austen, I’m going to defer.          I’m

  16    going to let the Committee Members ask and then I’ll

  17    come back.

  18         AUSTEN BRANDFORD:     Okay, great.    I will now call

  19    on Council Members in the order they have used the

  20    Zoom raise hand function with a quick reminder that

  21    Council Members Torres, Yeger and Powers raised their

  22    hand previously to ask questions at this time.

  23         Council Members, please keep your questions to

  24    four minutes including responses.         If there’s a

  25    second round of questioning, Council Member questions
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   2    will be limited to two minutes. The Sergeant at Arms

   3    will keep a timer and let you know when to start and

   4    when your time is up.      We will begin with Council

   5    Member Torres followed by Council Member Yeger.

   6         SERGEANT AT ARMS:     And your clock will start now.

   7         COUNCIL MEMBER TORRES:      Thank you.    I have a

   8    question for the Sheriff.       Sheriff, imagine for a

   9    moment the Council were to go forward with Intro.

  10    1912, so it’s the law of the city and then a judge

  11    were to issue an eviction warrant.        In the event of a

  12    conflict between the local law and a judicial order,

  13    how would the Sheriff’s respond and I’m curious to

  14    know how the Marshal’s respond.        I know DOI is not

  15    present at the moment but what would you do in the

  16    event of a conflict between a judicial order and the

  17    local law?

  18         JOSEPH FUCITO:    The law is very clear on it.

  19    That the Sheriff can’t look behind a judgement.           In

  20    fact, most of the case law in New York involving a

  21    Sheriff questioning an order happened here in New

  22    York City and it’s a very well settled law that if

  23    the Sheriff is ordered to do something, he can’t look

  24    behind the reasoning of the court and he must carry

  25    out the mandate according to its command.          That was
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   2    the whole principle by having a Sheriff be the

   3    ministerial officer for the court and for the Sheriff

   4    carrying out those duties, the Sheriff is granted

   5    quasi-judicial immunity.       Meaning that even if that

   6    action were to disobey a current law, a Sheriff would

   7    be immunized for carrying it out.        That is the

   8    protection that is granted the Sheriff because he is

   9    carrying out the will of the court.

  10         COUNCIL MEMBER TORRES:      So, even if we were to

  11    enact the law, you would not enforce it over a

  12    judicial order, is that—

  13         JOSEPH FUCITO:    If the Sheriff fails to act, he

  14    can be held in contempt.       There are two types of

  15    contempt in New York State.       There is a criminal

  16    contempt which is punitive and there’s a civil

  17    contempt which is coercive.       The court could apply a

  18    criminal contempt to me which would jail me for 30-

  19    days and a civil contempt which could jail me

  20    indefinitely until I perform the act.

  21         An example was recently you had a county clerk

  22    who refused to take marriage licenses.         That’s a

  23    ministerial act and if a Sheriff is required to carry

  24    out a ministerial act and he refuses; he faces

  25
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   2    probably the most severe punishment available under

   3    the law for an officer.

   4         So, I face both a personal liability, criminal

   5    and civil but if I carry out the order, I am fully

   6    immunized and I have the full backing of the court to

   7    do so.

   8         COUNCIL MEMBER TORRES:      So, since you’re an agent

   9    of the state court, neither a federal and/or a local

  10    moratorium is viable without the buy in of the court,

  11    is that what you are saying?

  12         JOSEPH FUCITO:    Yes.   Unfortunately, the court in

  13    the court room, the courts process really controls

  14    what the Sheriff does and since the Sheriff has no

  15    ability to look behind the courts order, then

  16    whatever the court tells the Sheriff to do, the

  17    Sheriff must do.      The Sheriff leaves these issues for

  18    the litigation in court.       That’s why a lot of civil

  19    process has a notice requirement.        The Sheriff give

  20    notice before he does something and that gives the

  21    person the opportunity to go to court to make these

  22    claims.

  23         Many of these issues that you are bringing

  24    forward are claims that would be appropriately made

  25    in court not to the Sheriff.
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          LICENSING                                       111
   2        COUNCIL MEMBER TORRES: This might be a question

   3    for HPD but suppose in the absence of a moratorium,

   4    is there anything that the city could do, the Council

   5    could do to address egregious case of rent gouging in

   6    an attempt to exploit the COVID-19 crisis?

   7         DANA SUSSMAN:    So, I don’t know that we are

   8    prepared to comment on that.       I haven’t heard that as

   9    a suggestion at this point Council Member but we can

  10    certainly take that back to see if there has been any

  11    discussion around that particular issue.

  12         COUNCIL MEMBER TORRES:      Thank you.    I see my time

  13    is about to expire, so thank you for affording me the

  14    opportunity.

  15         AUSTEN BRANDFORD:     Thank you.    Now, we’ll hear

  16    from Council Member Yeger followed by Council Member

  17    Powers.

  18         SERGEANT AT ARMS:     And your clock will start now.

  19         COUNCIL MEMBER YEGER:      Thank you very much.

  20    Sheriff, thank you for being here.        First, I just

  21    want to echo Mr. Speaker’s comments anytime somebody

  22    in our greater family of New York City employees is

  23    taken, it’s a shock not just for the greater system

  24    but obviously to the employees who are close with

  25    that person and your office being the small office
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       112
   2    that it is, I’m sure, I have no doubt that it’s

   3    hitting you folks at the Department of Finance pretty

   4    hard and I want to express my condolences.

   5         Sheriff, in your opening testimony and in

   6    Councilman Torre’s questions, you really did allude

   7    to many of the items that I wanted to talk to you

   8    about today and some of which I discussed with the

   9    earlier panel.     But I just, I want to get some more

  10    information a little bit, just so that we can have

  11    some clarity.

  12         So, if I may, when did you start working at the

  13    Sheriff’s office?

  14         JOSEPH FUCITO:    1988.

  15         COUNCIL MEMBER YEGER:      Okay, so I’m going to say

  16    at least for myself, as for a good number of my

  17    colleagues in the Council.       I would think it’s fair

  18    to say you probably have a greater understanding of

  19    your powers and authorities than I do.         I just want

  20    to focus I think on some of the remedies.          Since it’s

  21    so clear to me that this law cannot be enforced.

  22    Introduction 1912.      If it were to be enacted, you

  23    would not be legally allowed to follow it under any

  24    circumstances.

  25
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       113
   2        I don’t doubt for one second that the Mayor would

   3    not fire you for not following an unlawful act of

   4    this Council.     I know for sure that the Mayor values

   5    his oath.    I know you value your oath.       I value my

   6    oath as a member of the Council but I also value my

   7    oath as an officer of the court and a Sheriff is an

   8    officer of the court, an arm of the judicial system.

   9         So, I want to focus on some of the remedies that

  10    can be done instead.      My understanding obviously is

  11    that your powers come from the CPLR and from state

  12    law but clearly, if the Chief Judge of the State of

  13    New York were tomorrow to issue an order directing

  14    judges in the state that they may not issue

  15    execution, is it fair to say that you would not

  16    receive executions because judges would stop issuing

  17    them?

  18         JOSEPH FUCITO:    Yes, if the court directed us, we

  19    would do it.

  20         COUNCIL MEMBER YEGER:      Alright, so you know the

  21    obvious solutions to these problems don’t come from

  22    the well intentioned efforts here in the Council, but

  23    the notion that there are places in this state that

  24    govern your activity and you do not have the ability

  25    to decide to refuse to execute on an execution that
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       114
   2    you receive but more to the point that you stated

   3    earlier, there are remedies should you receive an

   4    execution.

   5         Number one, is there are notice provisions,

   6    correct?

   7         JOSEPH FUCITO:    Correct.

   8         COUNCIL MEMBER YEGER:      Okay, and number two is

   9    when you actually seize property, you don’t

  10    immediately that day or the next morning turn it

  11    over.   You actually hold it for quite a while to

  12    allow for within the confines of the Sheriff, so that

  13    the debtor can actually collaterally attack the

  14    execution and the underlying judgment if necessary,

  15    is that correct?

  16         JOSEPH FUCITO:    Correct.

  17         COUNCIL MEMBER YEGER:      Well, there are remedies

  18    as we know.    My concern of course is as I’ve said

  19    Sheriff and you may not necessarily be aware of this

  20    but I say this for the greater public, I have in my

  21    time in the Council been, I believe, very protective

  22    of the authorities of the Council.        I believe that

  23    the council has authorities as it is stated in our

  24    Charter and under state law but it is limited and

  25    when it is limited, we should not try to cross that
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       115
   2    line. We should respect the authority of the law.

   3    In this case the state is the place that needs to

   4    make these instructions to you and I would suggest to

   5    my colleagues that is a better way to go with respect

   6    to the good intentions of this law and with that I

   7    yield back my time, thank you.

   8         AUSTEN BRANDFORD:     Thank you.    Next, we will be

   9    hearing from Council Member Powers followed by

  10    Council Member Cabrera.

  11         COUNCIL MEMBER POWERS:      Mr. Sheriff, how are you

  12    doing?

  13         JOSEPH FUCITO:    How are you sir?     Nice to see

  14    you.

  15         COUNCIL MEMBER POWERS:      Nice to see you again.       I

  16    hope you are hanging in there.        I’m very sorry to

  17    hear about your employee or your colleague that

  18    passed away and wishing all of you the best.          And

  19    thank you to everybody else as well from HPD and

  20    Human Rights.

  21         Just two very quick questions, just as I’m

  22    looking at this, the 1912, we were told by tenants

  23    today and I actually have a legislation around

  24    security deposits in the City Council and I’m

  25    wondering if on the other side of this equation,
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          LICENSING                                       116
   2    would your ability to do money judgments, I’m just

   3    looking at the bills.      Would you ability to do money

   4    judgements here affect a tenant who is suing the

   5    landlord to get their security deposit returned to

   6    them and would you be able to take action in that

   7    case?

   8         JOSEPH FUCITO:    Well, supposing that there was a

   9    ban and as I said earlier, we don’t think we would be

  10    able to carry through on it.       The ban would work both

  11    ways.   In fact, it would probably impact; the state

  12    has a tribunal community and housing renewal.          They

  13    actually have a tribunal where they award triple

  14    damages to a tenant who has been rent overcharged.

  15         So, the workings of the justice system on both

  16    sides would be impacted by this type of legislation.

  17         COUNCIL MEMBER POWERS:      Meaning that If there was

  18    a rent overcharge or I guess a security deposit

  19    issue, you would and you were meant to on behalf of

  20    the tenant help them out or restore their money or

  21    damages that you would — at least for this period of

  22    time be able to do that?

  23         JOSEPH FUCITO:    Correct, the Sheriff is

  24    everyone’s Sheriff.      We carry out the mandates of the

  25
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       117
   2    court and everybody is entitled to have their

   3    judgement enforced impartial.

   4         COUNCIL MEMBER POWERS:      Understood and you would

   5    be able to then do it after this period ended?          You

   6    know, I understand there is a constitutional question

   7    here that you are raising but let’s just say we were

   8    able to figure that issue out, you would be able to

   9    do it but it would be at the end of that period and

  10    time.

  11         JOSEPH FUCITO:    I don’t want to speak to what the

  12    legislation would look like.       I could only speak to

  13    if the appropriate remedies were available to stop

  14    the Sheriff, the Sheriff would be stopped and we’d

  15    follow the directions that we’re authorize to follow.

  16         COUNCIL MEMBER POWERS:      Okay, and I applaud this

  17    because I don’t always know the exact intersection of

  18    where you hand over to the Marshals but I know the

  19    Marshals have some jurisdiction over things like

  20    parking tickets and I think other tickets that are

  21    unpaid in the city.

  22         JOSEPH FUCITO:    A quick reference.      The Sheriff

  23    is a law enforcement agency.       We are like a small

  24    police agency that handles the enforcement of court

  25    orders.    The courts that we handle are all the courts
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       118
   2    in New York City. So, all the courts in the city and

   3    the state.    The Sheriff is the enforcement officer.

   4    The Marshal is the enforcement officer for the civil

   5    court of the City of New York.

   6         They work in a similar fashion but I don’t want

   7    to speak for them.

   8         COUNCIL MEMBER POWERS:      Okay, and I think I am

   9    confident that they will be you know, probably

  10    testifying later today.       But just my question that

  11    is, maybe you can speak on this issue and then I’ll,

  12    if the Marshals do testify, I’ll ask this question.

  13         For things like red light camera tickets,

  14    speeding tickets, I guess parking tickets too.          Is

  15    that impacted by this legislation if we are looking

  16    to — I guess it takes some action related to things

  17    that many issues we talk about like speeding and red

  18    light cameras and things like that.

  19         JOSEPH FUCITO:    Yes.

  20         COUNCIL MEMBER POWERS:      How is that impacted?

  21         JOSEPH FUCITO:    Most of these public safety

  22    judgment enforcement in the city relies on judgement.

  23    So, like, building code violations, fire code

  24    violation, speeding violations, all of those

  25
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          LICENSING                                       119
   2    ultimately culminate into a decision that’s docketed

   3    with the New York City Civil Court as a judgement.

   4         COUNCIL MEMBER POWERS:      And that would be put on

   5    pause for the time period.

   6         JOSEPH FUCITO:    Yes, the legislation has that

   7    view.

   8         COUNCIL MEMBER POWERS:      Okay, great, thank you.

   9    Thanks for answering my questions, but my times up

  10    anyway.    Thanks.

  11         AUSTEN BRANDFORD:     Thank you.    We’ll now here

  12    from Council Member Cabrera followed by Council

  13    Member Chin.

  14         SERGEANT AT ARMS:     And your clock will start now.

  15         COUNCIL MEMBER CABRERA:      I’m going to use a very

  16    short amount of time because my questioned was

  17    answered by the questions that were asked by my

  18    colleagues.

  19         Thank you so much, I’ll pass.

  20         AUSTEN BRANDFORD:     Council Member Chin?

  21         SERGEANT AT ARMS:     Your clock will start now.

  22         COUNCIL MEMBER CHIN:     Yes, thank you.     Thank you

  23    to the panel.     I first wanted to really thank the

  24    Deputy Commissioner Sussman from Human Rights

  25    Commission for working with our community, in
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       120
   2    fighting xenophobia and hate crime and we got to do

   3    more to educate.     I think the bystander training are

   4    great.    My staff is all taking it and we want to urge

   5    more people to report the hate crime that is

   6    happening unfortunately.

   7         My question is, two things, I don’t if someone

   8    from Department of Finance is here.         One of the

   9    things that I talked about earlier was you know,

  10    support for property owners, small property owners

  11    who are providing affordable housing, rent regulated

  12    housing and they need relief and I talked about

  13    property tax deferral but we know the city needs

  14    money and the only way we can get out of this mess is

  15    we get the federal dollars.       But in our City Council

  16    response to the Mayor that I think there was

  17    precedent set I guess back in the economic crisis in

  18    the 70’s that large property owner, commercial

  19    property owner that could afford to pay property tax

  20    up front, that we should encourage them to do that so

  21    that we can give a deferral program to the smaller

  22    property owner who are providing affordable housing

  23    in our district.

  24

  25
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          LICENSING                                       121
   2        I don’t know if anybody can answer that. If

   3    there is anybody from Department of Finance.          If not,

   4    we’ll bring it back to the Administration.

   5         And the other question is to Deputy Commissioner

   6    Santiago in HPD.     You know, during this time, as I

   7    said, we still have predatory landlords, bad

   8    landlords who are still doing tenant harassment.              So,

   9    I’m just interested to see like, how many cases have

  10    HPD been working on?      The Commissioners HIPAA rights

  11    gave us some really good statistics in terms of

  12    complaints and so, if you can address that issue,

  13    that would be great.

  14         ANNMARIE SANTIAGO:     So, as you know the Mayor has

  15    supported us greatly in tenant harassment initiatives

  16    and HPD had started and has an anti-harassment unit,

  17    which tenants can contact and we have continued to

  18    receive complaints during this period.

  19         Most are around heat, hot water.       We are still

  20    responding with inspections to those conditions and

  21    we’re taking information from tenants to follow up

  22    once we’re in a better state to do full building

  23    inspections because that is what mostly what the

  24    anti-harassment unit does.

  25
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       122
   2        So, we’ve received about 60 complaints during

   3    this period and we’re continuing to reach out to all

   4    of those tenants who contact us to make sure that

   5    once we can continue with our anti-harassment

   6    inspections, do inspections for violations,

   7    conditions in the buildings, we will be ready to

   8    continue that.

   9         COUNCIL MEMBER CHIN:     Do you know if all those

  10    complaints came in through HPD or are some of them

  11    from referrals, from elected officials office or

  12    could maybe base —

  13         ANNMARIE SANTIAGO:     The vast majority have been

  14    through 311 who refers them to HPD.

  15         COUNCIL MEMBER CHIN:     Okay, alright.     Thank you.

  16         ANNMARIE SANTIAGO:     Your welcome.

  17         AUSTEN BRANDFORD:     Thank you.    We will now circle

  18    back to our Chair’s and Speaker for any final

  19    questions for the Administration before moving to

  20    public testimony.      Chair’s?

  21         CO-CHAIR COHEN:     I appreciate that.     I did want

  22    to say thank you to the Administration for your

  23    patience.    I know the hearing has been long, so I

  24    want to say thank you for that.

  25
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          LICENSING                                       123
   2        To HPD, I wonder if I really, maybe I should have

   3    asked this at the last panel but I’m of some thought

   4    that perhaps you know, eviction is a legal proceeding

   5    in the state of New York.       Housing court is uniquely

   6    set up to deal with those and we’ve talked about you

   7    know, tenants and landlords and property owners all

   8    differently situated.      Maybe housing court isn’t

   9    really the best place to try to sort this out as the

  10    time, when the time comes, as opposed to looking, I

  11    mean it would be great to find some macro policy that

  12    just solved everyone’s problem in one great piece of

  13    legislation but I wonder if HPD has any thoughts on

  14    you know, maybe the individualized approach at

  15    housing court might be the way to go, or if you have

  16    thoughts one way or the other.

  17         ANNMARIE SANTIAGO:     I think as some of the

  18    advocates said, housing court would be totally

  19    overwhelmed if and when we ever got to a position

  20    where all of these cases and all of these people,

  21    that they are talking about at risk, wound up in

  22    eviction proceedings or wound up in some other

  23    proceedings in housing court.

  24         I think the Mayor you know, is continuing to look

  25    and has advocated for a lot of the initiatives that
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       124
   2    have been talked about today. Again, we continue to

   3    look to our federal and state partners for financial

   4    support.    You know, getting ahead of this before it

   5    has to come before housing court or any other type

   6    of, I think judicial or administrative body on an

   7    individual case by case basis, is really how this

   8    would have to be addressed.

   9         So, I know that there are many people working on

  10    this issue looking for guidance, looking for support

  11    from outside the city and I think that that would be

  12    the way that we all should continue to push.

  13         CO-CHAIR COHEN:     I certainly agree that obviously

  14    that we need federal support.        I know that you know,

  15    the Speaker has been a very loud voice on that.           I’ve

  16    spoke to my congressional representative about the

  17    city’s needs.     I know that we all will.

  18         Thank you very much.     Austen, do we have

  19    everybody?

  20         CHAIRPERSON CORNEGY:     I just wanted to ask one

  21    point question.

  22         CO-CHAIR COHEN:     Oh, please Rob.

  23         CHAIRPERSON CORNEGY:     Sorry.    I’m pretty sure

  24    that with this esteemed group of Council Members this

  25    may have been asked, but I’m just curious whether or
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          LICENSING                                       125
   2    not there’s a belief that there is enough resources

   3    to actually effectively and efficiently look at

   4    tenant harassment cases.

   5         So, I don’t know if someone asked.        I don’t know

   6    if there is a complaint being made by HPD about the

   7    staff size and the requirements now that have

   8    expanded their duties but I’m just curious as to

   9    whether or not there is an opinion that the necessary

  10    resources are already in existence or are there more

  11    resources needed to do this job?        Especially the job

  12    of investigating these cases effectively.

  13         ANNMARIE SANTIAGO:     So, I think there are a

  14    couple of different issues on the table here Council

  15    Member.    So, you know that the Mayor is in full

  16    support of anti-tenant harassment measures and I

  17    think between HPD, DOB, HRA, a number of agencies who

  18    deal with tenant harassment generally a lot of

  19    resources have been put forth.

  20         If you are speaking specifically about the COVID

  21    related cases that we are talking about today, I

  22    don’t want to speak on behalf of the commission who

  23    testified about their resources and what they’ve been

  24    doing.    So, I would defer to them, specifically in

  25    that area.
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          LICENSING                                       126
   2        CHAIRPERSON CORNEGY: Well, I won’t hold up

   3    moving forward because again, I believe that my

   4    colleagues who I am very proud of, of being a member

   5    of this body, have probably asked questions that are

   6    relevant to the questions that I was going to ask.

   7    So, thank you though for appearing today.

   8         ANNMARIE SANTIAGO:     Your welcome, thank you.

   9         AUSTEN BRANDFORD:     Great, with no further

  10    questions from Chair’s, we’ll be turning to public

  11    testimony.    Thank you all for waiting.

  12         I’d like to remind everyone that unlike our

  13    typical Council hearings, we’ll be calling

  14    individuals one by one to testify.        Once your name is

  15    called, a member of our staff will unmute you and the

  16    Sergeant at Arms will give you the go ahead to begin.

  17         Your testimony will be limited to two minutes and

  18    a Sergeant at Arms will let you know when to begin

  19    and when your time is up.

  20         Please wait for the Sergeant at Arms to announce

  21    you can begin before delivering your testimony.           I

  22    would now like to welcome Ava Farkas to testify.

  23         SERGEANT AT ARM:     Ava, your clock will start when

  24    you begin your testimony.

  25
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       127
   2        AVA FARKAS: Sorry, I just heard my name, can you

   3    give me one second.

   4         Okay, thank you very much, thank you.        I just

   5    wanted to thank Speaker Johnson and the Committee on

   6    Housings and Buildings and the Committee on Consumer

   7    Affairs and Business Licensing for having this

   8    hearing.

   9         My name is Ava Farkas and I am here to testify in

  10    strong support of Intro.’s 1912 and Intro. 1936.              Met

  11    Council’s mission is to fight for housing as a human

  12    right.     The fact that it is not a human right has

  13    exacerbated this current COVID-19 crisis and its

  14    health impacts.

  15         92,000 New York State residents are homeless and

  16    cannot shelter in place and if we do not have a plan,

  17    post eviction moratorium then millions more will find

  18    themselves in the same predicament.

  19         I want to thank members of the City Council for

  20    supporting one of the critical services that Met

  21    Council provides which is our tenant rights hotline,

  22    which is now more important than ever for New

  23    Yorkers.

  24         Our hotline calls are confirming what everyone

  25    knows that tenants who were barely able to afford
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       128
   2    their rent before the pandemic are completely unable

   3    to now.    Our hotline calls have gone from questions

   4    about getting repairs to questions almost exclusively

   5    about inability to pay the rent, either due to

   6    layoff, reduction in hours or a roommates layoff or

   7    reduction in hours.      We have also gotten at least one

   8    call from a healthcare worker whose roommate and

   9    primary tenant has been harassing her into leaving

  10    the apartment before her sublease is up.         So, Intro.

  11    1936 is critically important.

  12         In addition, we conducted a survey with our base,

  13    556 people responded, so this is a self-selecting

  14    survey but I want to share the data with all of you.

  15    Of the 556 people who took our survey about how

  16    COVID-19 is impacting their ability to pay rent, 80

  17    percent —

  18         SERGEANT AT ARMS:      Time is expired.

  19         AVA FARKAS:    Sorry.    My time up?

  20         AUSTEN BRANDFORD:      If you have additional

  21    testimony, we will review all written testimony

  22    submitted.

  23         AVA FARKAS:    Okay.

  24

  25
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                       129
   2        AUSTEN BRANDFORD: We will make sure we look at

   3    it.    Alright, next, I would like to welcome Julia

   4    Duranti-Martinez to testify.

   5          SERGEANT AT ARMS: And Julia, your clock will

   6    start when you begin your testimony.

   7          JULIA DURANTI-MARTINEZ:     Hi, good afternoon

   8    Chair’s Cohen and Cornegy and Committee Members and

   9    thank you for the opportunity to testify.

  10          My name is Julia Duranti-Martinez and I’m a

  11    Campaign Coordinator at New Economy Project.          As my

  12    colleague Andy Morrison noted on the first panel, in

  13    addition we are also working to expand community land

  14    trust in New York City, including through a citywide

  15    community land trust discretionary funding

  16    initiative.

  17          We welcome the steps the Council has taken to

  18    combat housing discrimination and displacement during

  19    the COVID-19 crisis through Intro.’s 1912 and 1936.

  20    In addition to protecting New Yorkers from harassment

  21    and evictions, it is critical that Council support

  22    community led institutions like Community Land Trust

  23    to ensure a just recovery in New York City’s

  24    communities of color and to the communities interest

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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                       130
   2    and lease use of the land for permanently affordable

   3    housing and other local needs.

   4         As community governed organizations, CLT’S have

   5    the relationships and trust to address rapid response

   6    needs during times of crisis and more than a dozen

   7    emerging CLT’s citywide are engaged in COVID-19

   8    mobilization efforts from conducting wellness check

   9    calls to residents and connecting tenants to legal

  10    assistance to distributing food and supplies to

  11    elderly and homebound community residents.

  12    Nationally, CLT’s also have a track record of

  13    stabilizing housing for low income families in

  14    communities, including preventing park closures in

  15    the wake of the 2008 financial crash and aiding in

  16    recovery efforts after the hurricanes in Puerto Rico.

  17         Now more than ever, New York City has to invest

  18    in proven community led solutions like CLT’S to

  19    strengthen and stabilize neighborhoods that have long

  20    born the brunt of housing in public health crisis.

  21         We urge City Council to sustain and expand its

  22    support for CLT’s and community led cooperative

  23    economic development.      We are calling for renewed

  24    fiscal year 2021 discretionary funding which will

  25    directly support the hardest hit neighborhoods and
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                       131
   2    build institutions that will be crucial to prevent

   3    evictions, foreclosures, and speculation in the wake

   4    of economic devastation brought by COVID-19.

   5         SERGEANT AT ARMS:     Time expired.

   6         AUSTEN BRANDFORD:     Thank you.    We would now like

   7    to welcome Joseph Condon to testify.

   8         SERGEANT AT ARMS:     Joseph, your clock will begin

   9    when you begin your testimony.

  10         JOSEPH CONDON:    Good afternoon and thank you for

  11    the opportunity to provide testimony.         Thank you,

  12    Committee Chairs, thank you Speaker Johnson.          My name

  13    is Joseph Condon and I am providing this testimony on

  14    behalf of the Community Housing Improvement Program,

  15    also known as CHIP.

  16         CHIP is an organization made up primarily of

  17    small and medium sized owners and operators of rent

  18    stabilized housing in New York City.         Our members run

  19    hands on small businesses by managing their own

  20    buildings and becoming long term fixtures in their

  21    communities.

  22         During the COVID-19 pandemic, these members and

  23    their staff are on the frontlines making sure people

  24    have safe, clean properly functioning apartment

  25
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                       132
   2    buildings to live in while the shelter in place order

   3    is in effect.

   4         Because our members are community oriented, they

   5    are extremely sympathetic to the painful financial

   6    circumstances that COVID-19 has created.         According

   7    to a survey of our members, more than 50 percent of

   8    them have already entered into payment agreements

   9    with tenants who have been impacted by COVID-19.

  10    Another 25 percent of our members who responded said

  11    that they expect to offer some relief on a case by

  12    case basis moving forward and almost all of our

  13    members have provided information on employment

  14    benefits and other benefits to their tenants.

  15         Now, we understand that not everyone who has lost

  16    income will be eligible for those benefits, nor will

  17    those benefits make up all of the lost income for

  18    those who are eligible.      But CHIP members and other

  19    property owners are working with these tenants to

  20    figure things out.      Property owners and managers are

  21    in the best position to deal with a variety of

  22    circumstances tenants are facing.        But if everyone

  23    else who can pay rent just stops paying, the ability

  24    of an owner to provide relief to those who can’t get

  25    it anywhere else is significantly diminished.
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       133
   2    Despite this being a time where we need to put

   3    politics aside and work together, many tenant

   4    activists are using the COVID-19 crisis as an

   5    opportunity to push a political agenda.         Cancelling

   6    rent without also providing relief for the expenses

   7    of small property owners is not a workable option and

   8    should not be realistically considered by these

   9    committees, unless there is some commencement relief

  10    on the expense side.

  11         SERGEANT AT ARMS:     Time up.

  12         JOSEPH CONDON:    Relief in the area of property

  13    taxes is an excellent compliment to any moratorium.

  14    Between 30 and 40 percent of a tenants rent payment

  15    goes to the city in the form of property taxes but

  16    only focusing on one side of the equation, these

  17    proposals add fuel to the political fire of anti-

  18    housing activists who are calling for a rent strike

  19    for all.    This is one of the main reasons CHIP

  20    opposes 1912.

  21         CO-CHAIR COHEN:     Thank you for your testimony.

  22         JOSEPH CONDON:    Thank you.

  23         AUSTEN BRANDFORD:     Thank you.    We’d now like to

  24    welcome David Chemtob to testify.

  25
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                       134
   2        SERGEANT AT ARMS: David, your clock will begin

   3    when you start your testimony.

   4         DAVID CHEMTOB:    Can everyone see me?      Can you

   5    hear me?

   6         CO-CHAIR COHEN:     Yes.

   7         DAVID CHEMTOB:    Okay, dear honorable members of

   8    the New York City Council.       Thank you for hearing my

   9    testimony today.      Now that you are considering new

  10    legislation in the wake of this COVID-19 pandemic to

  11    allow tenants not to pay rent.        I would like to ask

  12    the Council Members who are in favor of this a few

  13    questions.    Landlords are currently providing crucial

  14    and essential services to their tenants.         Those

  15    essential services could only continue if landlords

  16    could continue to collect their rent.         Specifically,

  17    how are landlords expected to pay for heat and hot

  18    water if tenants are not going to be paying rent?

  19    How do you expect landlords to pay for water and

  20    sewage that allows tenants to take showers and to go

  21    to the bathroom?

  22         Landlords are paying supers and porters to put

  23    the garbage that tenants are generating today.           How

  24    will landlords continuing to clean up and mop public

  25    spaces without the critical cash flow that comes from
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       135
   2    rent collections? How does City Council expect

   3    landlords to pay property taxes without rent?

   4    Property taxes have skyrocketed in the last three

   5    years to a level as equal to 35 percent of our rental

   6    income.    Why is the landlord trying to collect termed

   7    as harassment?     Is a landlord not entitled to collect

   8    rent for providing shelter, heat, hot water, and

   9    cleaning services and etc., to their tenants?

  10         Why are we even using the term harassment?         All

  11    we want to do is just collect the rent on an

  12    apartment so we can continue paying our property

  13    taxes, paying our supers, paying the oil company

  14    that’s going to deliver oil tomorrow.

  15         We got to pay ConEdison to keep the elevators

  16    rolling.    Why is government considering to throwing

  17    the burden of this pandemic completely on the

  18    landlords?    Why is City Council not considering a

  19    bill to allow people to walk into a local

  20    supermarket, pick up some groceries and walk out

  21    without paying?

  22         SERGEANT AT ARMS:     Time expired.

  23         DAVID CHEMTOB:    Thank you and good luck.

  24         AUSTEN BRANDFORD:     Thank you.    We would now like

  25    to welcome Kenneth Litwack to testify.
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       136
   2        SERGEANT AT ARMS: Kenneth, your clock will begin

   3    as you start your testimony.

   4         KENNETH LITWACK:     Good afternoon Chairman

   5    Cornegy, Cohen and Speaker Johnson and the members of

   6    the Committee.     I want to thank you for this

   7    opportunity to testify before you today on behalf of

   8    the Marshals Association of the City of New York.             I

   9    am going to speak in opposition to Intro. 1912.

  10         Since 1979, when I was first appointed as Council

  11    in the Inspector General to the New York City

  12    Sheriff, I’ve been involved in this aspect of the

  13    law.   I became Director for the Marshals Bureau for

  14    the New York City Department of Investigation after

  15    serving for the Sheriff and that is the unit that is

  16    responsible for regulating New York City Marshals

  17    pursuant to state law.      I’d like to point out to you

  18    that Marshals employ approximately 250 people or New

  19    Yorkers whose lives would be deeply impacted by the

  20    long term disruptions to their operations.

  21         Our first objection to Intro. 1912 is that the

  22    City Council does not have the jurisdiction or legal

  23    authority to enact such a measure.        There is no

  24    statutory basis that would permit the City Council to

  25    restrain a Marshal or a Sheriff’s functions.
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       137
   2    Marshals act pursuant to court orders which command

   3    them to act and are part of a complex system where it

   4    is the duty of judges to determine the special

   5    circumstances of a particular case.

   6         Section 16092 of the New York City Civil Court

   7    Act specifies that it is the [INAUDIBLE 2:38:46]

   8    which has the regulatory authority over Marshals.

   9    Marshal is an independent officer whose position was

  10    created by the state legislature and his powers and

  11    duties are prescribed by state statute.         In addition

  12    to the civil court act Marshals yet their powers,

  13    which are defined by the New York State CPLR.

  14         Our next objection is that while we understand

  15    the intent of this legislation is to help those in

  16    need, which have been negatively impacted by COVID-

  17    19, we believe the proposal —

  18         SERGEANT AT ARMS:     Time expired.

  19         CO-CHAIR COHEN:     Austen, can we give the Marshal

  20    a little more time.      I think this testimony is

  21    particular germane, I just want to let him finish,

  22    alright.

  23         KENNETH LITWACK:     Thank you.

  24         SERGEANT AT ARMS:     I will restart the clock at

  25    two minutes.
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       138
   2        CO-CHAIR COHEN: Thank you.

   3         KENNETH LITWACK:     If the proposed legislation

   4    were enacted as written, it would negatively impact

   5    small claims court and a needy plaintiffs ability to

   6    enforce a money judgement.       As a result of this

   7    legislation, plaintiffs would have no way of

   8    recovering money they are legally entitled to which

   9    adds insult to injury during these trying times.

  10         New York City Marshals enforce approximately

  11    2,000   to 2,500 money judgments in small claims court

  12    each year.    It is imperative that the Council

  13    consider the budgetary implications of this bill.             We

  14    are a key part of an approximate $80 million in

  15    revenue that the city collects in judgements every

  16    year on parking, speed, red light violations, camera

  17    violations, as low as environment control board

  18    violations.

  19         This is a significant source of annual revenue

  20    for the City of New York and is needed more than ever

  21    as the city’s budget deficit continues to expand.

  22    Furthermore, the money judgments Marshals execute in

  23    these categories serve as a deterrent to this type of

  24    behavior and further the goals of the city’s safety

  25    programs like Vision Zero.
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       139
   2        I’d also like to point out that putting aside

   3    these objections, in the past Marshals have

   4    cooperated with the city in for example during 911

   5    and during Hurricane Sandy, in cutting back on

   6    evictions through the city and working with the city.

   7    I’m very sensitive to these issues.         We look forward

   8    to working with the Council on this issue and I am

   9    happy to answer any question you may have.

  10         CO-CHAIR COHEN:     Thank you very much.

  11         AUSTEN BRANDFORD:     We will now turn for any

  12    questions from the Chairs.       We have a question from

  13    Council Member Yeger.

  14         COUNCIL MEMBER YEGER:      Thank you Mr. Chairman.

  15    Mr. Lipblack, I’m glad you are here to testify

  16    because you are adding clarity to a place where the

  17    Sheriff was not able to opine.        He limited his

  18    opinions to his own powers of authority but it’s very

  19    clear from what you are saying that should the

  20    Council, and this goes to a very similar question

  21    that I asked earlier.      Should the Council pass this

  22    law and the law says that you are to ignore a

  23    lawfully delivered execution.        You would not be

  24    empowered to abide by the Council law, you would have

  25    to abide by your powers as stipulated by Section 1609
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       140
   2    of a civil court act and Article 52 of the PPLR, is

   3    that correct?

   4         KENNETH LITWACK:     That is absolutely correct. If

   5    would be improper and illegal for a Marshal to refuse

   6    a command of the court.

   7         COUNCIL MEMBER YEGER:      Okay, I have nothing

   8    further.    Thank you, Mr. Chairman, I yield back.

   9         AUSTEN BRANDFORD:     Alright, with no more

  10    questions, this concludes the public testimony.           So,

  11    if inadvertently forgotten to call on someone who

  12    registered to speak, that person can raise their hand

  13    using the Zoom raise hand function in the next minute

  14    or so, we’ll try to hear from you now.         We will wait

  15    for a minute.

  16         Seeing none it looks like we can turn this back

  17    to the Chair’s here for some closing remarks.

  18         CHAIRPERSON CORNEGY:     So, Andy, I don’t know if

  19    you want to go first.      You kind of held this down.

  20         CO-CHAIR COHEN:     I’ll be very brief.     I really

  21    just want to say thank you to everybody who

  22    testified.    I think I mentioned this in my opening

  23    but it took an enormous amount of work on part of the

  24    staff to bring this hearing off and a tremendous

  25    amount of prep you know from our committee, my
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       141
   2    Legislative Director Patty, like, it was enormous

   3    amount of work and I don’t want to hurt my arm

   4    patting us on the back here but I thought this went

   5    very, very well and I want to say, thank you for

   6    everybody participating and I want to say thank you

   7    for your partnership Rob, I think you did a good job.

   8         CHAIRPERSON CORNEGY:     Thank you.    I’d like to say

   9    for those who are watching an essential function of

  10    the council is to meet and to advocate through

  11    legislation and policy on behalf of the voice of the

  12    city.   I think this was a balanced effort at looking

  13    at what we’re facing as it relates to tenant

  14    displacement during COVID.       But I think what we heard

  15    was testimony that you know, that applicates on

  16    behalf of small landlords as well, which demonstrates

  17    the need to get this right and to make sure that you

  18    know that we don’t have a singular focus and as a

  19    Council, we have a duty to hear these things and this

  20    is unique environment to do it in.         I have to say

  21    that I’ve never been prouder of the Council to honor

  22    its commitment to act on behalf of its citizens even

  23    in this unique way.

  24         I want to thank all the staff that was involved

  25    because what people don’t know is you see this couple
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          COMMITTEE ON HOUSING AND BUILDINGS JOINTLY WITH
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          LICENSING                                       142
   2    of hours of hearing and of testimony but there were

   3    countless hours put in prior to and in countless

   4    hours that will be put in in debriefing and making

   5    sure we have all of the information.         So, I want to

   6    personally thank all the staff involved, including

   7    the Security staff who make sure that those who are

   8    supposed to be here are here and those who are not

   9    are not allowed to disrupt this.        So, thank you again

  10    and I think this is the part Austen where I gavel

  11    out.   With my favorite drum sticks by the way.         So,

  12    [GAVEL], this conclude the hearing of Housing and

  13    Buildings and with my partnership with Andy Cohen.

  14    Thanks Andy.

  15         CO-CHAIR COHEN:     Great job Rob, thank you.

  16         CHAIRPERSON CORNEGY:     Thanks Mike.

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                          C E R T I F I C A T E




        World Wide Dictation certif ies that the

        foregoing transcript is a true and accurate

        record of the proceedings. We further certify that

        there is no relation to any of the parties to

        this action by blood or marriage, and that there

        is interest in the outcome of this matter.




        Date ____April 1, 2018_______________
